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The following constitutes the ruling of the court and has the force and effect therein described.


Signed August 26, 2024
                                            ____________________________
                                            United States Bankruptcy Judge
_____________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION
                                              §
      In re:                                  §   Chapter 11
                                              §
      BM318, LLC,                             §   Case No. 20-42789-MXM
                                              §
             Debtor                           §
                                              §
      BM318, LLC,                             §
                                              §
             Plaintiff,                       §
                                              §
      v.                                      §   Adv. Pro. No. 21-04051-MXM
                                              §
      THE DIXON WATER FOUNDATION,             §
                                              §
             Defendant.                       §
                                              §
      LUMAR LAND & CATTLE, LLC                §
                                              §
             Plaintiff-in-Intervention        §


          FINAL AGREED JUDGMENT DISMISSING THE ADVERSARY PROCEEDING

              This adversary proceeding was commenced by BM318, LLC (“BM318”), as the plaintiff,

      against The Dixon Water Foundation (“Dixon”), as the defendant. Thereafter, Lumar Land &

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 Cattle, LLC (“Lumar”) was granted leave to intervene in this adversary proceeding. Cortney C.

 Thomas (“Receiver”) has been appointed as Receiver for BM318 through the following lawsuit

 (“Receivership Lawsuit”):

                     Securities and Exchange Commission v. Timothy Barton, et al.,
                     Case 3:22-cv-2118-X, in the United States District Court for the
                     Northern District of Texas, Dallas Division.

         The Receiver (acting on behalf of BM318) and Dixon have entered into a settlement

 agreement ("Dixon Settlement Agreement”) which fully resolves all matters pending between

 them in this adversary proceeding. Lumar is not a party to the Dixon Settlement Agreement.

 The Dixon Settlement Agreement has been approved by this Court by Order entered as Docket

 No. 163 in the above-captioned chapter 11 bankruptcy case, and has been ratified by the district

 court in the Receivership Lawsuit [District Court Docket No. 550]. Pursuant to the Dixon

 Settlement Agreement, the Receiver and Dixon have agreed to entry of this Final Agreed

 Judgment fully and finally settling and dismissing all claims and disputes between them in this

 adversary proceeding.

         The Receiver (acting on behalf of BM318) and Lumar have entered into a separate

 settlement agreement (“Lumar Settlement Agreement”) which fully resolves all claims and

 disputes pending between them in this adversary proceeding. Dixon is not a party to the Lumar

 Settlement Agreement. The Lumar Settlement Agreement has been approved by this Court by

 Order entered as Docket No. 164 in the above-captioned chapter 11 bankruptcy case, and has

 been ratified by the district court in the Receivership Lawsuit [District Court Docket No. 550].

 Pursuant to the Lumar Settlement Agreement, the Receiver and Lumar have agreed to the entry

 of this Final Agreed Judgment fully and finally settling and dismissing all claims and disputes

 between them in this adversary proceeding.


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         The Court’s order approving the Dixon Settlement Agreement and Lumar Settlement

 Agreement is final and was not appealed. The Receivership Lawsuit defendant Timothy Barton

 filed a notice of interlocutory appeal of the district court’s order ratifying the Dixon Settlement

 Agreement and Lumar Settlement Agreement, but Barton neither sought nor received a stay of

 the district court’s ratification order pending the appeal [District Court Docket No. 554]. 1

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED and DECREED that:

         1.          All claims, causes of action, or other claims for any form of relief asserted in this

 adversary proceeding by any party are hereby dismissed with prejudice to the refiling of the

 same. This dismissal with prejudice shall encompass not only the claims actually asserted by

 any party in this adversary proceeding, but also any claim, cause of action or claim for relief

 which could have been asserted based upon the transactions or occurrences which form the

 subject matter of this adversary proceeding.

         2.          All attorney’s fees and costs of court shall be borne by the party initially incurring

 the same.

         3.          This judgment is a final judgment fully and finally disposing of all claims, causes

 of action, or claims for relief asserted by any party in this adversary proceeding.

         4.          Upon the entry of this judgment, the lis pendens filed by BM318 and recorded

 under Instrument No. 202142097 in the official real property records of Parker County, Texas is

 hereby dissolved.

         5.          Dixon’s form of Release of Lis Pendens attached hereto as Exhibit 1 is confirmed,

 approved, and legally effective.



 1
   See FED. R. CIV. P. 62(c)(1) (prescribing that “[u]nless the court orders otherwise,” an “interlocutory or final
 judgment in an action for an injunction or receivership” are “not stayed after being entered”). Nor does jurisdiction
 exist for that interlocutory appeal. See Netsphere, Inc. v. Baron, 799 F.3d 327, 331-32 (5th Cir. 2015).
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         6.          Lumar’s form of Release of Lis Pendens attached hereto as Exhibit 2 is

 confirmed, approved, and legally effective.

         7.          All relief not specifically granted herein is denied.

         8.          The Court retains jurisdiction to construe and enforce this Final Agreed Judgment.



                                       # # # END OF ORDER # # #

 Approved for Entry:


 _/s/ C. Alan Carrillo__________________________
 Charlene C. Koonce
 State Bar No. 11672850
 Email: charlene@brownfoxlaw.com
 C. Alan Carrillo
 State Bar No. 24109693
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 8111 Preston Road, Suite 300
 Dallas, Texas 75225
 Telephone: (214) 327-5000
 Facsimile: (214) 327-5001

 ATTORNEYS FOR CORTNEY C. THOMAS, RECEIVER FOR BM318, LLC, ET AL.




 __/s/ Deborah M. Perry_________________________
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 Texas Bar No. 24002755
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 Facsimile: (214) 855-7584

 ATTORNEYS FOR THE DIXON WATER
 FOUNDATION




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 _/s/ J. Robert Forshey__________________________
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 Dallas, Texas 75201
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 ATTORNEYS FOR LUMAR LAND AND CATTLE, LLC




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 Exhibit 1 to Judgment


                                      RELEASE OF LIS PENDENS
STATE OF TEXAS                                             §
                                                           §
COUNTY OF PARKER                                           §

         On October 27, 2021, BM318, LLC filed a Notice of Lis Pendens in the real property

records of Parker County, Texas, in connection with an adversary proceeding filed in the United

States Bankruptcy Court for the Northern District of Texas (the “Bankruptcy Court”) as a part of

the Chapter 11 Case In re BM318, LLC, Case No. 20-42789 (the “Bankruptcy Case”) with the

adversary proceeding itself being styled BM318, LLC v. Dixon Water Foundation and numbered

Adversary Proceeding 21-04051-MXM (the “Notice of Lis Pendens”).

         A.        The Notice of Lis Pendens was recorded under Instrument No. 202142097, in the

official real property records of Parker County, Texas.

         B.        The lawsuit described above has been settled, and the approval of the settlement

pursuant to Bankruptcy Rule 9019 has been entered on the docket of the Bankruptcy Case by the

Bankruptcy Court.

                                                   RELEASE
         NOW, THEREFORE, BM318, LLC, by and through its Receiver Cortney C. Thomas

(appointed in the case of Securities and Exchange Commission v. Timothy Barton, et al., Case

No. 3:22-cv-2118-X (N.D. Tex.)) 1 cancels and releases the Lis Pendens previously filed upon the

property more particularly described as:

         2055.70 acres of land situated in the JAMES BRADY SURVEY, ABSTRACT
         No. 119, JAMES BRADLEY SURVEY, ABSTRACT No. 120, JOHN D. BAY
         SURVEY, ABSTRACT NO. 195, J.H. REAM SURVEY, ABSTRACT No. 1106,
         T.J. BENDERMAN SURVEY, ABSTRACT No. 2519, I. & G.N. RR. CO.,
         SECTION NO. 3, BLOCK 1, ABSTRACT NO. 1799 and the PETER B.
         HOLDER SURVEY, ABSTRACT No. 614, Parker County, Texas, being a

1 A copy of the Order appointing the Receiver is attached hereto as Exhibit B.

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         portion of those certain tracts of land described in deed as Parcel No. 1 and Parcel
         No. 2, said 2055.70 acres being more particularly described as Tract 1 on the
         attached Exhibit A, and the access easement more particularly described as Tract
         2 on the attached Exhibit A.
         Witness my hand, this ____ day of ________________, 2024.

                                               BM318, LLC




                                               ____________________________
                                                 Its Receiver Courtney C. Thomas

                                                  c/o Charlene C. Koonce
                                                   charlene@brownfoxlaw.com
                                                   BROWN FOX PLLC
                                                   8111 Preston Road, Suite 300
                                                   Dallas, Texas 75225
                                                   Telephone: (214) 327-5000

                                     ACKNOWLEDGMENT
STATE OF TEXAS                   §
                                 §
COUNTY OF DALLAS                 §

      This instrument was acknowledged before me on the ____ day of ________________,
2024 by Courtney C. Thomas, Receiver for BM318, LLC.


                                                    ___________________________________

                                                    Name: _____________________________

                                                    Notary Public, State of Texas

                                                    My commission expires: _______________
After Recording Return to:                          Seal:

Munsch Hardt Kopf & Harr, P.C.
c/o Deborah M. Perry
500 N. Akard Street, Suite 4000
Dallas, Texas 75201
(214) 855-7500

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                                       EXHIBIT A
                                 PROPERTY DESCRIPTION

TRACT 1

2055.70 acres of land situated in the JAMES BRADY SURVEY, ABSTRACT No. 119,
JAMES BRADLEY SURVEY, ABSTRACT No. 120, JOHN D. BAY SURVEY,
ABSTRACT NO. 195, J.H. REAM SURVEY, ABSTRACT No. 1106, T.J. BENDERMAN
SURVEY, ABSTRACT No. 2519, I. & G.N. RR. CO., SECTION NO. 3, BLOCK 1,
ABSTRACT NO. 1799 and the PETER B. HOLDER SURVEY, ABSTRACT No. 614,
Parker County, Texas, being a portion of those certain tracts of land described in deed as
Parcel No. 1 and Parcel No. 2, said 2055.70 acres being more particularly described as
follows:




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 Exhibit 1 to Judgment




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                                 RELEASE OF LIS PENDENS

                                            I.    Parties

A.      This Release of Lis Pendens, (“Release”) is executed by Cortney C. Thomas, in his
capacity as Receiver (“Second Receiver”) pursuant to the Second Receiver Order entered in the
Receiver Lawsuit (as both are defined below), to release the Lis Pendens (as defined below)
and all other rights, title, interest, claims, and causes of action which encumber certain land
owned by Lumar Land & Cattle, LLC (“Lumar”), a Texas limited liability company.

                                      II.        Definitions

B.      As used in this Partial Release, the following terms shall have the respective meanings
set forth below:

     i.      The term “Adversary Proceeding” shall refer to the following adversary
proceeding commenced by BM318 as a part of the Bankruptcy Case:

              BM318, LLC, Plaintiff v. The Dixon Water Foundation, Defendant,
              Lumar Land & Cattle, LLC, Plaintiff-in-intervention, Adv. No. 21-
              04051-mxm, United States Bankruptcy Court for the Northern
              District of Texas, Fort Worth Division.

    ii.     The term “Bankruptcy Case” shall refer to the following bankruptcy case
commenced by BM318:

              In re BM318, LLC, Case No. 20-4789-mxm, United States
              Bankruptcy Court for the Northern District of Texas, Fort Worth
              Division.

     iii.      The term “BM318” shall mean BM318, LLC, a Texas limited liability company, the
debtor in the Bankruptcy Case and the plaintiff in the Adversary Proceeding.

    iv.       The term “Dixon” shall mean The Dixon Water Foundation, f/k/a The Dixon
Foundation, a non-profit foundation, the original defendant in the Adversary Proceeding.

    v.       The term “Lis Pendens” shall mean the Notice of Lis Pendens relating to
BM318’s claims in the Adversary Proceeding and filed by BM318 on October 27, 2021, as
Document No. 202142097 in the Official Records of Parker County, Texas.

     vi.      The term “Lumar Deed” shall mean the Special Warranty Deed with Vendor’s
Lien executed by Dixon, as grantor, to Lumar, as grantee, covering the Lumar Land and
recorded on April 23, 2021, as Document no. 202116538 in the Official Records of Parker
County, Texas.

     vii.    The term “Lumar Land” shall refer to the 204.50-acre tract located in Parker
County, Texas, which is more fully described in the Lumar Deed and in the attached Exhibit
“A.”

   viii.     The term “Original Tract” shall mean the 2,055.77-acre tract located in Parker
County, Texas, which was sold by Dixon to BM318 in 2018.
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    ix.      The term “Receiver Lawsuit” shall refer to the following lawsuit in which the
Receiver was appointed:

               Securities and Exchange Commission v. Timothy Barton, et al.,
               Case 3:22-CV-2118-X, in the United States District Court for the
               Northern District of Texas, Dallas Division.

     x.        The term “Second Receiver Order” shall refer to an Order Appointing Receiver
entered as Docket no. 417 in the Receiver Lawsuit on November 29, 2023, a true and accurate
copy of which is attached hereto as Exhibit “B” appointing the Second Receiver.

     xi.       The term “Remaining Land” shall mean the 1,531.75 acre tract of land located in
Parker County, Texas, which is the subject of BM318’s claims in the Adversary Proceeding but
excluding therefrom the Lumar Land.

   xii.      The term “Special Warranty Deed” shall mean the deed conveying the
Remaining Land from BM318, as grantor, to Dixon, as grantee, and recorded on July 2, 2020 as
Document no. 202019524 in the Official Records of Parker County, Texas.

                                        III.   Recitals

C.      Dixon sold the Original Tract to BM318 during 2018. The majority of the purchase price
for the Original Tract was provided through owner financing by Dixon and secured by a deed of
trust against most of the Original Tract. The Remaining Land constitutes a portion of the
Original Tract. Dixon asserts that BM318 defaulted in the repayment of this debt. Ultimately,
BM318 conveyed the Remaining Land to Dixon pursuant to the Special Warranty Deed which
was recorded on July 2, 2020.

D.     On September 1, 2020, BM318 commenced the Bankruptcy Case and acted as a
debtor-in-possession. The Bankruptcy Court ultimately confirmed a plan of reorganization
proposed by BM318 in the Bankruptcy Case which became effective on August 2, 2021.

E.     On April 23, 2021, Dixon sold the Lumar Land to Lumar. The land was conveyed to
Lumar pursuant to the Lumar Deed. The Lumar Land constitutes a part of the Remaining Land.
Lumar financed a portion of the purchase price through loans from a third party lender.

F.     On August 10, 2021, BM318 commenced the Adversary Proceeding against Dixon
seeking to avoid the transfer of the Remaining Land by BM318 to Dixon pursuant to the Special
Warranty Deed as a preferential or fraudulent transfer pursuant to sections 547 and 548 of the
Bankruptcy Code. Dixon asserts that these avoidance claims by BM318 are without merit.

G.    On October 27, 2021, BM318 filed the Lis Pendens which relates to its claims in the
Adversary Proceeding against Dixon in relation to the Remaining Land.

H.     Lumar sought to intervene in the Adversary Proceeding based on the Lis Pendens,
which burdens the Lumar Tract as a part of the Remaining Land. The Bankruptcy Court granted
Lumar leave to intervene in the Adversary Proceeding. In the Adversary Proceeding, Lumar
asserts that BM318’s avoidance claims as to the Remaining Land are without merit, and further
asserts that it is also entitled to the protections of section 550(b)(1) and (2) of the Bankruptcy
Code. Lumar further asserts that, in addition to the lack of merit in BM318’s avoidance claims,
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the lender’s rights in the Lumar Land pursuant to its deeds of trust are further protected by
section 550(b)(2) of the Bankruptcy Code. BM318 contests Lumar’s assertions.

I.     On September 23, 2022, the Receiver Lawsuit was filed. Thereafter, the Second
Receiver was appointed to serve in such capacity through the Second Receiver Order. Based
on the Second Receiver Order, further proceedings in the Adversary Proceeding are stayed.

J.      Pursuant to paragraph 1 of the Second Receiver Order, the Second Receiver is
appointed as receiver for BM318, as one of the “Receivership Entities,” with exclusive control
and possession of the BM318 assets, of whatever kind and wherever located, including all
tangible and intangible property, and which are included as part of the “Receivership Property”.
Paragraph 3 of the Second Receiver Order clothes the Second Receiver with all power, right
and authority possessed by the officers, directors, and managers of each of the Receivership
Entities, which includes BM318. Paragraph 6 grants the Second Receiver broad powers over
the Receivership Property, including the right to take any action which, prior to the entry of the
Second Receiver Order, could have been taken by the officers, directors, managers, and agent
of any of the Receivership Entities.

K.      BM318’s claims and rights in relation to the Adversary Proceeding, including in relation
to the Lis Pendens, constitute Receivership Assets subject to the Second Receiver’s control
pursuant to the Second Receiver Order. This allows the Receiver to settle and resolve the
Adversary Proceeding and release the Lis Pendens.

L.     The Second Receiver has executed this Release based on the provisions of the Second
Receiver Order, his control of BM318 as one of the Receivership Entities, and his control of all
property of BM318 as part of the Receivership Assets.

M.     The Second Receiver (acting on behalf of BM318) has entered into a Settlement and
Release Agreement (“Settlement Agreement”) with Lumar to settle and resolve all claims among
them in the Adversary Proceeding. The Settlement Agreement is subject to the Agreement to
Reaffirm and Adopt Settlement and Release Agreement (“Reaffirmation and Adoption
Agreement”) among the Second Receiver and Lumar. References herein to the Settlement
Agreement refer to the Settlement Agreement subject to the Reaffirmation and Adoption
Agreement.

N.       The District Court has entered an Order on April 15, 2024, as docket no. 486, modifying
the litigation stay contained in the Second Receiver Order to allow the Parties to seek approval
of the Settlement Agreement and the Reaffirmation and Adoption Agreement. This Settlement
Agreement has been approved by the Bankruptcy Court pursuant to an order entered on May
28, 2024, as docket no. 164, and ratified by the Receivership Court pursuant to an order
entered on August 18, 2024, as docket no. 550.

O.     This Release is executed and delivered by the Second Receiver pursuant to the
Settlement Agreement.

                               IV.    Release of Lis Pendens

       FOR VALUE RECEIVED, pursuant to the terms of the Settlement Agreement, acting with
regard to the Receivership Assets of BM318 as one of the Receivership Entities subject to the
Second Receiver Order, the Second Receiver hereby releases the Lis Pendens as against the
Lumar Land. By so releasing the Lis Pendens against the Lumar Land, the Second Receiver
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also releases all rights, title, interest, claims, and causes of action against the Lumar Land,
including all claims relating to the Lumar Land asserted or which could have been asserted in
the Adversary Proceeding.

       Any other term hereof notwithstanding, by this Release the Second Receiver does not
release, impair or impact any right, title, interest, claims, and causes of action of or by BM318
against any portion of the Remaining Land.

         Executed and effective as of this _____________ day of _____________, 2024.

                                                                 SECOND RECEIVER:


                                                                 _________________________________
                                                                 Cortney C. Thomas, as Second Receiver
                                                                 Pursuant to the Second Receivership Order
ACKNOWLEDGMENT:


STATE OF TEXAS
COUNTY OF DALLAS


This instrument was acknowledged before me on the _____ day of ________________, 2024,
by Cortney C. Thomas, as Receiver for BM318, LLC.


My commission expires: _________________________
_____________________________
Notary Public, State of Texas


WHEN RECORDED, RETURN TO:

J. Robert Forshey
Forshey & Prostok, LLP
777 Main Street, Suite 1550
Fort Worth, Texas 76102




L:\BFORSHEY\Lumar Land & Cattle, LLC (BM318)(non-bnkrptcy)#6323\Barton - SEC Civil Suit 22-cv-02118
(Receivership)\Release of Lis Pendens (Execution v) 8.20.24.docx
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                        Exhibit A
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                        Exhibit B
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                                                                                     EXHIBITS, APPEAL


                                       U.S. Bankruptcy Court
                                 Northern District of Texas (Ft. Worth)
                                Adversary Proceeding #: 21-04051-mxm
                                              Internal Use Only

 Assigned to: Mark X. Mullin                                       Date Filed: 08/10/21
 Lead BK Case: 20-42789
 Lead BK Title: BM318, LLC
 Lead BK Chapter: 11
 Demand:
 Nature[s] of Suit: 12 Recovery of money/property - 547 preference
                    13 Recovery of money/property - 548 fraudulent transfer
                    14 Recovery of money/property - other


Plaintiff
-----------------------
BM318, LLC                                             represented by Joyce W. Lindauer
13901 Midway Road                                                     Joyce W. Lindauer Attorney, PLLC
Suite 102                                                             1412 Main Street
Dallas, TX 75244                                                      Suite 500
Tax ID / EIN: XX-XXXXXXX                                              Dallas, TX 75202
                                                                      (972) 503-4033
                                                                      Fax : (972) 503-4034
                                                                      Email: joyce@joycelindauer.com
                                                                      LEAD ATTORNEY

                                                                      Khudabuksh K Walji
                                                                      Law Office of K. Walji
                                                                      10701 Corporate Drive, Ste 350
                                                                      Stafford, TX 77477
                                                                      281-401-9672
                                                                      Email: k.walji@waljilaw.com


V.

Defendant
-----------------------
The Dixon Water Foundation                             represented by Jay Ong
                                                                      Munsch Hardt Kopf & Harr, P.C.
                                                                      1717 West 6th Street
                                                                      Suite 250
                                                                      Austin, TX 78703
                                                                      (512) 391-6124
                                                                      Fax : (512) 226-7105
                                                                      Email: jong@munsch.com

                                                                      Deborah M. Perry
      Case 4:24-cv-00863-P         Document 1-1   Filed 09/11/24    Page 105
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                                                                            Hardt 134 & PageID
                                                                                         Harr, P.C.106
                                                                   3800 Lincoln Plaza
                                                                   500 North Akard Street
                                                                   Dallas, TX 75201-6659
                                                                   214-855-7565
                                                                   Fax : 214-978-5335
                                                                   Email: dperry@munsch.com

                                                                   Julian Preston Vasek
                                                                   Munsch Hardt Kopf and Harr
                                                                   500 N. Akard Street
                                                                   Suite 4000
                                                                   Dallas, TX 75201
                                                                   214-855-7528
                                                                   Email: jvasek@munsch.com


Intervenor-Plaintiff
-----------------------
Lumar Land & Cattle, LLC                             represented by J. Robert Forshey
c/o Quilling, Selander, Lownds, et al.                              Forshey & Prostok, LLP
Attn: Kimberly P. Harris                                            777 Main St., Suite 1550
2001 Bryan Street                                                   Ft. Worth, TX 76102
Suite 1800                                                          817-877-8855
Dallas, TX 75201                                                    Email: bforshey@forsheyprostok.com
2148712100
                                                                   Kimberly Paige Harris
                                                                   Quilling, Selander, Lownds, et al.
                                                                   2001 Bryan Street, Suite 1800
                                                                   Dallas, TX 75201
                                                                   (214) 871-2100
                                                                   Fax : (214) 871-2111
                                                                   Email: kharris@qslwm.com

                                                                   Joshua Lee Shepherd
                                                                   Quilling, Selander, Lownds, Winslett & M
                                                                   2001 Bryan Street, Suite 1800
                                                                   Dallas, TX 75201
                                                                   (214) 871-2100
                                                                   Fax : (214) 871-2111
                                                                   Email: jshepherd@qslwm.com


Counter-Claimant
-----------------------
The Dixon Water Foundation                           represented by Deborah M. Perry
                                                                    (See above for address)

                                                                   Julian Preston Vasek
                                                                   (See above for address)


V.
       Case 4:24-cv-00863-P             Document 1-1         Filed 09/11/24        Page 106 of 134        PageID 107
Counter-Defendant
-----------------------
BM318, LLC
13901 Midway Road
Suite 102
Dallas, TX 75244


Counter-Claimant
-----------------------
BM318, LLC
13901 Midway Road
Suite 102
Dallas, TX 75244


V.

Counter-Defendant
-----------------------
Lumar Land & Cattle, LLC                                         represented by J. Robert Forshey
c/o Quilling, Selander, Lownds, et al.                                          (See above for address)
Attn: Kimberly P. Harris
2001 Bryan Street
Suite 1800
Dallas, TX 75201
2148712100


     Filing Date                                                     Docket Text

                      1 (9 pgs) Adversary case 21-04051. Complaint by BM318, LLC against The Dixon Water Foundation.
                     Fee Amount $350. Nature(s) of suit: 12 (Recovery of money/property - 547 preference). 13 (Recovery of
 08/10/2021          money/property - 548 fraudulent transfer). 14 (Recovery of money/property - other). (Lindauer, Joyce)

                      2 (2 pgs) Adversary proceeding cover sheet filed by Plaintiff BM318, LLC (RE: related document(s)1
 08/10/2021          Complaint). (Lindauer, Joyce)

                       Receipt of filing fee for Complaint(21-04051-mxm) [cmp,cmp] ( 350.00). Receipt number 28908896,
 08/10/2021          amount $ 350.00 (re: Doc# 1). (U.S. Treasury)

 08/11/2021               (private) Case checked for completeness (Almaraz, Jeanette)

                      3 (2 pgs) Scheduling order setting deadlines. Discovery and all exhibits except impeachment documents:
                     45 days prior to Docket Call, pre-trial order: 7 calendar days prior to Docket Call, proposed findings of
                     fact and conclusions of law: 7 days prior to first scheduled docket call (RE: related document(s)1
                     Complaint filed by Plaintiff BM318, LLC). Trial Docket Call date set for 1/27/2022 at 09:00 AM Ft.
 08/11/2021          Worth, Judge Mullin's Ctrm.. Entered on 8/11/2021 (Calfee, J.)

 08/11/2021           4 (2 pgs) Summons issued on The Dixon Water Foundation Answer Due 9/10/2021 (Calfee, J.)

 08/12/2021           5 (2 pgs) Summons service executed on The Dixon Water Foundation 8/12/2021 (Lindauer, Joyce)
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24         Page 107 of 134         PageID 108
               6 (3 pgs) Agreed Scheduling Order (RE: related document(s)1 Complaint filed by Plaintiff BM318,
              LLC). Trial Docket Call date set for 4/28/2022 at 09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Entered on
09/27/2021    9/27/2021 (Chambers, Deanna)

               7 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)6 Agreed Scheduling
              Order (RE: related document(s)1 Complaint filed by Plaintiff BM318, LLC). Trial Docket Call date set for
              4/28/2022 at 09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Entered on 9/27/2021) No. of Notices: 2. Notice
09/29/2021    Date 09/29/2021. (Admin.)

                8 (15 pgs) Answer to complaint , Counterclaim by The Dixon Water Foundation against BM318, LLC
09/30/2021    filed by The Dixon Water Foundation. (Perry, Deborah)

10/22/2021     9 (5 pgs) Answer to counterclaim filed by BM318, LLC. (Lindauer, Joyce)

               10 (3 pgs) INCORRECT ENTRY. Amended Agreed Scheduling Order (RE: related document(s)6 Order
              to set hearing). Entered on 12/27/2021 (Almaraz, Jeanette) MODIFIED on 12/28/2021 (Almaraz,
12/27/2021    Jeanette).

               11 (3 pgs) Amended Agreed Scheduling Order setting hearing (RE: related document(s)1 Complaint filed
              by Counter-Defendant BM318, LLC, Plaintiff BM318, LLC). Trial Docket Call date set for 4/28/2022 at
              09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Entered on 12/27/2021 (Almaraz, Jeanette) (Entered:
12/27/2021    12/28/2021)

               12 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)10 INCORRECT
              ENTRY. Amended Agreed Scheduling Order (RE: related document(s)6 Order to set hearing). Entered on
              12/27/2021 (Almaraz, Jeanette) MODIFIED on 12/28/2021 .) No. of Notices: 0. Notice Date 12/29/2021.
12/29/2021    (Admin.)

               13 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)11 Amended Agreed
              Scheduling Order setting hearing (RE: related document(s)1 Complaint filed by Counter-Defendant
              BM318, LLC, Plaintiff BM318, LLC). Trial Docket Call date set for 4/28/2022 at 09:00 AM Ft. Worth,
12/30/2021    Judge Mullin's Ctrm.. Entered on 12/27/2021) No. of Notices: 0. Notice Date 12/30/2021. (Admin.)

               14 (15 pgs; 3 docs) Motion to intervene and Brief in Support filed by Interested Party Lumar Land &
01/14/2022    Cattle, LLC (Attachments: # 1 Exhibit A # 2 Proposed Order) (Harris, Kimberly)

               15 (4 pgs) Notice of hearing filed by Interested Party Lumar Land & Cattle, LLC (RE: related
              document(s)14 Motion to intervene filed by Interested Party Lumar Land & Cattle, LLC). Hearing to be
01/19/2022    held on 2/10/2022 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 14, (Shepherd, Joshua)

               16 (8 pgs; 2 docs) Agreed Motion to continue hearing on (related documents 1 Complaint)(Joint Agreed
              Motion for Entry of Second Amended Agreed Scheduling Order) filed by Defendant The Dixon Water
01/27/2022    Foundation (Attachments: # 1 Proposed Order) (Perry, Deborah)

               17 (5 pgs) Objection to (related document(s): 14 Motion to intervene and Brief in Support filed by
01/28/2022    Interested Party Lumar Land & Cattle, LLC) filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

               18 (20 pgs; 3 docs) Witness and Exhibit List filed by Interested Party Lumar Land & Cattle, LLC (RE:
              related document(s)14 Motion to intervene and Brief in Support). (Attachments: # 1 Exhibit A # 2 Exhibit
02/07/2022    B) (Shepherd, Joshua)

               19 (2 pgs) Witness and Exhibit List filed by Defendant The Dixon Water Foundation (RE: related
02/07/2022    document(s)14 Motion to intervene and Brief in Support). (Perry, Deborah)
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24        Page 108 of 134          PageID 109
               20 (78 pgs; 10 docs) Witness and Exhibit List filed by Plaintiff BM318, LLC (RE: related document(s)14
              Motion to intervene and Brief in Support). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4
02/07/2022    Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9) (Lindauer, Joyce)

               21 (4 pgs; 2 docs) Motion to continue hearing on (related documents 14 Motion to intervene) filed by
02/07/2022    Plaintiff BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

               22 (3 pgs) Notice of hearing filed by Plaintiff BM318, LLC (RE: related document(s)21 Motion to
              continue filed by Counter-Defendant BM318, LLC, Plaintiff BM318, LLC). Hearing to be held on
02/08/2022    2/10/2022 at 01:30 PM at https://us-courts.webex.com/meet/mullin for 21, (Lindauer, Joyce)

               23 (55 pgs; 2 docs) Response unopposed to (related document(s): 14 Motion to intervene and Brief in
              Support filed by Interested Party Lumar Land & Cattle, LLC) filed by Defendant The Dixon Water
02/08/2022    Foundation. (Attachments: # 1 Exhibit A) (Ong, Jay)

               24 (3 pgs) Objection to (related document(s): 21 Motion to continue hearing on (related documents 14
              Motion to intervene) filed by Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) filed by Interested
02/09/2022    Party Lumar Land & Cattle, LLC. (Shepherd, Joshua)

               25 (4 pgs) Reply to (related document(s): 24 Objection filed by Interested Party Lumar Land & Cattle,
02/09/2022    LLC) filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

                26 (2 pgs) Notice of Appearance and Request for Notice for Khudabuksh Walji by Joyce W. Lindauer
02/10/2022    filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

               27 (4 pgs; 2 docs) Support/supplemental document/Supplement to Exhibit List filed by Plaintiff BM318,
              LLC (RE: related document(s)20 List (witness/exhibit/generic)). (Attachments: # 1 Exhibit 11) (Lindauer,
02/10/2022    Joyce)

                28 Hearing held on 2/10/2022. (RE: related document(s)21 Motion to continue hearing on (related
              documents 14 Motion to intervene) filed by Plaintiff BM318, LLC (Attachments: # 1 Proposed Order)
02/10/2022    filed by Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) ***DENIED*** (Almaraz, Jeanette)

               29 Hearing held on 2/10/2022. (RE: related document(s)14 Motion to intervene and Brief in Support filed
              by Interested Party Lumar Land & Cattle, LLC (Attachments: # 1 Exhibit A # 2 Proposed Order) filed by
02/10/2022    Interested Party Lumar Land & Cattle, LLC) ***GRANTED*** (Almaraz, Jeanette)

               30 (1 pg) Court admitted exhibits date of hearing 02/10/2022 (RE: related document(s)14 Motion to
              intervene and Brief in Support filed by Interested Party Lumar Land & Cattle, LLC (Attachments: # 1
              Exhibit A # 2 Proposed Order) filed by Interested Party Lumar Land & Cattle, LLC, 21 Motion to continue
              hearing on (related documents 14 Motion to intervene) filed by Plaintiff BM318, LLC (Attachments: # 1
02/10/2022    Proposed Order) filed by Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) (Almaraz, Jeanette)

               31 (2 pgs) Order denying motion to continue hearing on (related document # 21) Entered on 2/14/2022.
02/14/2022    (Chambers, Deanna)

               32 (2 pgs) Order granting motion to intervene (related document # 14) Entered on 2/14/2022.
02/14/2022    (Chambers, Deanna)

               33 (8 pgs; 2 docs) Intervenor complaint by Lumar Land & Cattle, LLC against BM318, LLC.
02/16/2022    (Attachments: # 1 Cover Sheet) (Harris, Kimberly)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 109 of 134           PageID 110
               34 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)32 Order granting
              motion to intervene (related document 14) Entered on 2/14/2022.) No. of Notices: 1. Notice Date
02/16/2022    02/16/2022. (Admin.)

               35 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)31 Order denying
              motion to continue hearing on (related document 21) Entered on 2/14/2022.) No. of Notices: 1. Notice
02/16/2022    Date 02/16/2022. (Admin.)

               36 (2 pgs) Intervenor summons issued on BM318, LLC Date Issued 2/17/2022, Answer Due 3/21/2022
02/17/2022    (Calfee, J.)

               37 (4 pgs) Second Amended Agreed Order granting motion to continue hearing on (related document #
              16) (related documents Complaint) Trial Docket Call date set for 6/23/2022 at 09:00 AM Ft. Worth, Judge
02/17/2022    Mullin's Ctrm.. Entered on 2/17/2022. (Chambers, Deanna)

               38 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)37 Second Amended
              Agreed Order granting motion to continue hearing on (related document 16) (related documents
              Complaint) Trial Docket Call date set for 6/23/2022 at 09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Entered
02/19/2022    on 2/17/2022.) No. of Notices: 1. Notice Date 02/19/2022. (Admin.)

02/21/2022     39 (1 pg) Summons service executed on BM318, LLC 2/21/2022 (Shepherd, Joshua)

                40 (24 pgs) Answer to complaint , Counterclaim by BM318, LLC against Lumar Land & Cattle, LLC
03/21/2022    filed by BM318, LLC. (Lindauer, Joyce)

               41 (2 pgs) Notice (Corporate Disclosure) filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC.
03/21/2022    (Harris, Kimberly)

               42 (13 pgs) Intervenor's answer to complaint (Plaintiff-in-Intervention's Answer to Plaintiff's
04/11/2022    Counterclaims)

04/11/2022     43 (3 pgs) Notice /Plaintiff's Expert Disclosures filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

               44 (10 pgs; 2 docs) Agreed Motion to continue hearing on (related documents 1 Complaint) filed by
04/13/2022    Defendant The Dixon Water Foundation (Attachments: # 1 Proposed Order) (Perry, Deborah)

               45 (4 pgs) Withdrawal - Notice of Withdrawal of Docket No. 44 filed by Defendant The Dixon Water
              Foundation (RE: related document(s)44 Agreed Motion to continue hearing on (related documents 1
04/14/2022    Complaint)). (Perry, Deborah)

                (private) Documents terminated. WITHDRAWN per 45 (RE: related document(s)44 Agreed Motion to
              continue hearing on (related documents 1 Complaint) filed by Defendant The Dixon Water Foundation
04/14/2022    (Attachments: # 1 Proposed Order)) (Hartogh, Kristina)

               46 (10 pgs; 2 docs) Agreed Motion to continue hearing on (related documents 1 Complaint) filed by
04/20/2022    Defendant The Dixon Water Foundation (Attachments: # 1 Proposed Order) (Perry, Deborah)

               47 (2 pgs) Notice of Appearance and Request for Notice by J. Robert Forshey filed by Intervenor-
04/21/2022    Plaintiff Lumar Land & Cattle, LLC. (Forshey, J.)

                48 (4 pgs) Third Amended Agreed Order granting motion to continue hearing on (related document # 46)
              (related documents Complaint) Trial Docket Call date set for 10/27/2022 at 09:00 AM Ft. Worth, Judge
              Mullin's Ctrm.. Trial date set for 11/14/2022 & 11/15/2022 at 09:30 AM at Ft. Worth, Judge Mullin's
04/26/2022    Ctrm.. Entered on 4/26/2022. (Chambers, Deanna)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 110 of 134         PageID 111
               49 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)48 Third Amended
              Agreed Order granting motion to continue hearing on (related document 46) (related documents
              Complaint) Trial Docket Call date set for 10/27/2022 at 09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Trial
              date set for 11/14/2022 & 11/15/2022 at 09:30 AM at Ft. Worth, Judge Mullin's Ctrm.. Entered on
04/28/2022    4/26/2022.) No. of Notices: 3. Notice Date 04/28/2022. (Admin.)

               50 (45 pgs) Motion for leave to File Amended Complaint (related document(s) 1 Complaint) filed by
05/09/2022    Plaintiff BM318, LLC Objections due by 5/31/2022. (Lindauer, Joyce)

                51 (4 pgs) Notice of hearing filed by Plaintiff BM318, LLC (RE: related document(s)50 Motion for leave
              filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC).
              Hearing to be held on 6/15/2022 at 02:30 PM at https://us-courts.webex.com/meet/mullin for 50,
05/23/2022    (Lindauer, Joyce)

               52 (2 pgs) Stipulation by The Dixon Water Foundation and BM318, LLC. filed by Defendant The Dixon
              Water Foundation (RE: related document(s)50 Motion for leave to File Amended Complaint (related
05/24/2022    document(s) 1 Complaint)). (Perry, Deborah)

               53 (21 pgs) Objection to (related document(s): 50 Motion for leave to File Amended Complaint (related
              document(s) 1 Complaint) filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC,
05/31/2022    Plaintiff BM318, LLC) filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC. (Harris, Kimberly)

               54 (48 pgs; 4 docs) Motion for leave (to Amend its Original Complaint in Intervention for Declaratory
              Judgment and its Original Answer to Counterclaims) filed by Intervenor-Plaintiff Lumar Land & Cattle,
06/03/2022    LLC (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order) (Harris, Kimberly)

               55 (28 pgs) Objection to (related document(s): 50 Motion for leave to File Amended Complaint (related
              document(s) 1 Complaint) filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC,
              Plaintiff BM318, LLC) filed by Defendant The Dixon Water Foundation, Counter-Claimant The Dixon
06/03/2022    Water Foundation. (Vasek, Julian)

               56 (154 pgs; 11 docs) Witness and Exhibit List filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC
              (RE: related document(s)50 Motion for leave to File Amended Complaint (related document(s) 1
              Complaint)). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
06/10/2022    Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10) (Harris, Kimberly)

               57 (117 pgs; 6 docs) Witness and Exhibit List filed by Defendant The Dixon Water Foundation (RE:
              related document(s)50 Motion for leave to File Amended Complaint (related document(s) 1 Complaint)).
              (Attachments: # 1 Exhibit A (Debtor's First Amended Plan) # 2 Exhibit B (Debtor's Second Amended
              Disclosure Statement) # 3 Exhibit C (First Modification to Debtor's First Amended Plan # 4 Exhibit D
              (Third Modification to Debtor's First Amended Plan) # 5 Exhibit E (SI Restructuring Plan of Liquidation))
06/10/2022    (Nguyen, Thanhan)

               58 (259 pgs; 16 docs) Witness and Exhibit List filed by Plaintiff BM318, LLC (RE: related
              document(s)50 Motion for leave to File Amended Complaint (related document(s) 1 Complaint)).
              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
              Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
06/10/2022    Exhibit 14 # 15 Exhibit 15) (Lindauer, Joyce)

               59 (8 pgs) Response opposed to (related document(s): 53 Objection filed by Counter-Defendant Lumar
              Land & Cattle, LLC, Intervenor-Plaintiff Lumar Land & Cattle, LLC, 55 Objection filed by Counter-
              Claimant The Dixon Water Foundation, Defendant The Dixon Water Foundation) filed by Plaintiff
06/14/2022    BM318, LLC. (Lindauer, Joyce)

06/15/2022      60 Hearing held on 6/15/2022. (RE: related document(s)50 Motion for leave to File Amended Complaint
              (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by 5/31/2022.)
    Case 4:24-cv-00863-P  Document 1-1
               ***UNDER ADVISEMENT***     FiledJeanette)
                                      (Almaraz,  09/11/24(Entered:Page  111 of 134
                                                                   06/16/2022)                         PageID 112

                 61 (1 pg) Court admitted exhibits date of hearing 6/15/2022 (RE: related document(s)50 Motion for
                leave to File Amended Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC
06/15/2022      Objections due by 5/31/2022.) (Almaraz, Jeanette) (Entered: 06/16/2022)

                 62 (1 pg) Request for transcript regarding a hearing held on 6/15/2022. The requested turn-around time is
06/16/2022      daily (Almaraz, Jeanette)


                     63 (93 pgs) Transcript regarding Hearing Held 6/15/22 RE: Motion For Leave To File Amended
                Complaint. THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE
                GENERAL PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS
                09/19/2022. Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained
                from the official court transcriber. Court Reporter/Transcriber Dipti Patel/LibertyTranscripts, Telephone
                number 847-848-4907. (RE: related document(s) 60 Hearing held on 6/15/2022. (RE: related
                document(s)50 Motion for leave to File Amended Complaint (related document(s) 1 Complaint) filed by
                Plaintiff BM318, LLC Objections due by 5/31/2022.) ***UNDER ADVISEMENT***). Transcript to be
06/21/2022      made available to the public on 09/19/2022. (Patel, Dipti)

                  64 (3 pgs) Notice of hearing filed by Plaintiff BM318, LLC (RE: related document(s)50 Motion for leave
                filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC).
                Hearing to be held on 6/30/2022 at 02:30 PM at https://us-courts.webex.com/meet/mullin for 50,
06/23/2022      (Lindauer, Joyce)

                 65 (379 pgs; 19 docs) Amended Witness and Exhibit List - Plaintiff-in-Intervention Lumar Land &
                Cattle, LLC's Amended Witness and Exhibit List in Connection With Hearing set for June 30, 2022 filed by
                Intervenor-Plaintiff Lumar Land & Cattle, LLC (RE: related document(s)56 List
                (witness/exhibit/generic)). (Attachments: # 1 Exh. 1 # 2 Exh. 2 # 3 Exh. 3 # 4 Exh. 4 # 5 Exh. 5 # 6 Exh. 6
                # 7 Exh. 7 # 8 Exh. 8 # 9 Exh. 9 # 10 Exh. 10 # 11 Exh. 11 # 12 Exh. 12 # 13 Exh. 13 # 14 Exh. 14 # 15
06/27/2022      Exh. 15 # 16 Exh. 16 # 17 Exh. 17 # 18 Exh. 18) (Forshey, J.)

                 66 (7 pgs) Supplemental Response opposed to (related document(s): 53 Objection filed by Counter-
                Defendant Lumar Land & Cattle, LLC, Intervenor-Plaintiff Lumar Land & Cattle, LLC, 55 Objection filed
                by Counter-Claimant The Dixon Water Foundation, Defendant The Dixon Water Foundation) filed by
06/29/2022      Plaintiff BM318, LLC. (Lindauer, Joyce)

                  69 Hearing held on 6/30/2022. (RE: related document(s)50 Motion for leave to File Amended Complaint
                (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by 5/31/2022. filed by
                Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) - UNDER
06/30/2022      ADVISEMENT - (Calfee, Jennifer) (Entered: 07/06/2022)

                 70 (1 pg) Court admitted exhibits date of hearing June 30, 2022 (RE: related document(s)50 Motion for
                leave to File Amended Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC
                Objections due by 5/31/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC,
06/30/2022      Plaintiff BM318, LLC) (Calfee, Jennifer) (Entered: 07/06/2022)

                 67 (2 pgs) Certificate of No Objection filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC (RE:
                related document(s)54 Motion for leave (to Amend its Original Complaint in Intervention for Declaratory
07/01/2022      Judgment and its Original Answer to Counterclaims)). (Shepherd, Joshua)

                 68 (2 pgs) Order granting motion for leave to amend (related document # 54) Entered on 7/5/2022.
07/05/2022      (Warren, Shelley)

07/07/2022       71 (27 pgs; 2 docs) Amended Intervenor complaint by Lumar Land & Cattle, LLC against BM318, LLC,
                The Dixon Water Foundation. (RE: related document(s)33 Intervenor complaint by Lumar Land & Cattle,
                LLC against BM318, LLC. (Attachments: # 1 Cover Sheet) filed by Counter-Defendant Lumar Land &
    Case 4:24-cv-00863-P        Document 1-1
               Cattle, LLC, Intervenor-Plaintiff LumarFiled
                                                       Land 09/11/24
                                                            & Cattle, LLC).Page   112 of #134
                                                                            (Attachments:  1 CoverPageID    113
                                                                                                   Sheet) (Harris,
                  Kimberly)

07/07/2022         72 (13 pgs) Intervenor's answer to complaint (Amended Answer to Plaintiff's Counterclaims)

                   73 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)68 Order granting
                  motion for leave to amend (related document 54) Entered on 7/5/2022.) No. of Notices: 0. Notice Date
07/07/2022        07/07/2022. (Admin.)

                   74 (2 pgs) Intervenor summons issued on BM318, LLC Date Issued 7/8/2022, Answer Due 8/8/2022
07/08/2022        (Calfee, Jennifer)

07/08/2022         75 (1 pg) Summons service executed on BM318, LLC 7/8/2022 (Shepherd, Joshua)

                   76 (276 pgs; 2 docs) Motion to compel re: discovery Answers to Interrogatories and Production of
                  Responsive Documents filed by Defendant The Dixon Water Foundation (Attachments: # 1 Appendix)
07/15/2022        (Vasek, Julian)

                   77 (3 pgs) Motion for expedited hearing(related documents 76 Motion to compel re: discovery) filed by
07/15/2022        Defendant The Dixon Water Foundation (Vasek, Julian)

                    78 Hearing to render ruling set (RE: related document(s)50 Motion for leave to File Amended Complaint
                  (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by 5/31/2022. filed by
                  Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) Ruling to be
07/18/2022        held on 7/27/2022 at 01:30 PM at https://us-courts.webex.com/meet/mullin for 50, (Calfee, Jennifer)

                   79 (5 pgs) Objection to (related document(s): 77 Motion for expedited hearing(related documents 76
                  Motion to compel re: discovery) filed by Counter-Claimant The Dixon Water Foundation, Defendant The
07/18/2022        Dixon Water Foundation) filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

                   80 (2 pgs) Order granting motion for expedited hearing (Related Doc77)(document set for hearing: 76
                  Motion to compel re: discovery) Hearing to be held on 7/27/2022 at 01:30 PM at https://us-
                  courts.webex.com/meet/mullin for 76, Entered on 7/19/2022. (Chambers, Deanna) MODIFIED location to
07/19/2022        mullin on 7/20/2022 (Calfee, Jennifer).

                   81 (2 pgs) Notice of hearing filed by Defendant The Dixon Water Foundation (RE: related
                  document(s)76 Motion to compel re: discovery filed by Counter-Claimant The Dixon Water Foundation,
                  Defendant The Dixon Water Foundation). Hearing to be held on 7/27/2022 at 01:30 PM Ft. Worth, Judge
07/20/2022        Mullin's Ctrm. for 76, (Vasek, Julian)

                   82 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)80 Order granting
                  motion for expedited hearing (Related Doc77)(document set for hearing: 76 Motion to compel re:
                  discovery) Hearing to be held on 7/27/2022 at 01:30 PM at https://us-courts.webex.com/meet/mullin for
                  76, Entered on 7/19/2022. (Chambers, Deanna) MODIFIED location to mullin on 7/20/2022 .) No. of
07/21/2022        Notices: 0. Notice Date 07/21/2022. (Admin.)

                   83 (9 pgs) Answer to complaint /Response to Plaintiff-in-Intervention Lumar Land & Cattle, LLC's
07/22/2022        Amended Complaint in Intervention for Declaratory Judgment filed by BM318, LLC. (Lindauer, Joyce)

                   84 (258 pgs; 2 docs) Witness and Exhibit List filed by Defendant The Dixon Water Foundation (RE:
                  related document(s)76 Motion to compel re: discovery Answers to Interrogatories and Production of
07/26/2022        Responsive Documents). (Attachments: # 1 Appendix) (Vasek, Julian)
    Case 4:24-cv-00863-P       Document 1-1         Filed 09/11/24         Page 113 of 134          PageID 114
               85 (22 pgs) Objection to (related document(s): 76 Motion to compel re: discovery Answers to
              Interrogatories and Production of Responsive Documents filed by Counter-Claimant The Dixon Water
07/26/2022    Foundation, Defendant The Dixon Water Foundation) filed by Plaintiff BM318, LLC. (Lindauer, Joyce)

               86 (126 pgs; 9 docs) Witness and Exhibit List filed by Plaintiff BM318, LLC (RE: related document(s)76
              Motion to compel re: discovery Answers to Interrogatories and Production of Responsive Documents).
              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
07/26/2022    Exhibit 7 # 8 Exhibit 8) (Lindauer, Joyce)

                87 Hearing held on 7/27/2022. (RE: related document(s)50 Motion for leave to File Amended Complaint
              (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by 5/31/2022. filed by
              Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) ***ORAL
07/27/2022    RULING - MOTION DENIED*** (Almaraz, Jeanette)

               88 Hearing held and continued (RE: related document(s)76 Motion to compel re: discovery Answers to
              Interrogatories and Production of Responsive Documents filed by Defendant The Dixon Water Foundation
              (Attachments: # 1 Appendix) filed by Counter-Claimant The Dixon Water Foundation, Defendant The
              Dixon Water Foundation) Hearing to be held on 8/1/2022 at 01:00 PM at https://us-
07/27/2022    courts.webex.com/meet/mullin for 76, (Almaraz, Jeanette)

               89 (1 pg) Request for transcript (ruling only) regarding a hearing held on 7/27/2022. The requested turn-
07/27/2022    around time is 7-day expedited (Almaraz, Jeanette)

               93 (1 pg) Court admitted exhibits date of hearing 7/27/2022 (RE: related document(s)76 Motion to
              compel re: discovery Answers to Interrogatories and Production of Responsive Documents filed by
              Defendant The Dixon Water Foundation (Attachments: # 1 Appendix) filed by Counter-Claimant The
              Dixon Water Foundation, Defendant The Dixon Water Foundation) (Almaraz, Jeanette) (Entered:
07/27/2022    08/02/2022)

               90 (1 pg) Request for transcript regarding a hearing held on 6/30/2022. The requested turn-around time is
07/28/2022    7-day expedited on witness testimony only (Almaraz, Jeanette) (Entered: 07/29/2022)

               91 (7 pgs) Brief in support filed by Plaintiff BM318, LLC (RE: related document(s)85 Objection).
08/01/2022    (Lindauer, Joyce)

               92 Hearing held and continued (RE: related document(s)76 Motion to compel re: discovery Answers to
              Interrogatories and Production of Responsive Documents filed by Defendant The Dixon Water Foundation
              (Attachments: # 1 Appendix)) Hearing to be held on 8/11/2022 at 11:00 AM at https://us-
08/01/2022    courts.webex.com/meet/mullin for 76, (Calfee, Jennifer)


                    94 (20 pgs) Transcript regarding Hearing Held 07/27/22 RE: Oral Ruling. THIS TRANSCRIPT
              WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER
              THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 11/2/2022. Until that time the transcript
              may be viewed at the Clerk's Office or a copy may be obtained from the official court transcriber. Court
              Reporter/Transcriber Lawrence Court Transcription, Telephone number Kelli Ray/833-800-5288. (RE:
              related document(s) 87 Hearing held on 7/27/2022. (RE: related document(s)50 Motion for leave to File
              Amended Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by
              5/31/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318,
              LLC) ***ORAL RULING - MOTION DENIED***). Transcript to be made available to the public on
08/04/2022    11/2/2022. (Ray, Kelli)

               95 (1 pg) Clerk's correspondence requesting an order from attorney for creditor. (RE: related
              document(s)50 Motion for leave to File Amended Complaint (related document(s) 1 Complaint) filed by
08/04/2022    Plaintiff BM318, LLC Objections due by 5/31/2022.) Responses due by 8/11/2022. (Nunns, Tracy)
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24         Page 114 of 134         PageID 115
                    96 (56 pgs) Transcript regarding Hearing Held 06/30/2022 RE: Witness Testimony Only. THIS
              TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
              DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 11/4/2022. Until that time
              the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
              transcriber. Court Reporter/Transcriber Lawrence Court Transcription & Video, LLC, Telephone number
              833-800-5288. (RE: related document(s) 69 Hearing held on 6/30/2022. (RE: related document(s)50
              Motion for leave to File Amended Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318,
              LLC Objections due by 5/31/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318,
              LLC, Plaintiff BM318, LLC) - UNDER ADVISEMENT -). Transcript to be made available to the public
08/06/2022    on 11/4/2022. (Lawrence, Gillian)

               97 (1 pg) Request for transcript regarding a hearing held on 8/1/2022. The requested turn-around time is
08/09/2022    daily (Calfee, Jennifer)


                    98 (80 pgs) Transcript regarding Hearing Held 08/01/22 RE: MOTION TO COMPEL (76). THIS
              TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
              DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 11/8/2022. Until that time
              the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
              transcriber. Court Reporter/Transcriber Transcripts Plus, Inc., Telephone number 215-862-1115
              (CourtTranscripts@aol.com). (RE: related document(s) 92 Hearing held and continued (RE: related
              document(s)76 Motion to compel re: discovery Answers to Interrogatories and Production of Responsive
              Documents filed by Defendant The Dixon Water Foundation (Attachments: # 1 Appendix)) Hearing to be
              held on 8/11/2022 at 11:00 AM at https://us-courts.webex.com/meet/mullin for 76,). Transcript to be made
08/10/2022    available to the public on 11/8/2022. (Hartmann, Karen)

               99 Hearing held and continued (RE: related document(s)76 Motion to compel re: discovery Answers to
              Interrogatories and Production of Responsive Documents filed by Defendant The Dixon Water Foundation
              (Attachments: # 1 Appendix) filed by Counter-Claimant The Dixon Water Foundation, Defendant The
              Dixon Water Foundation) Hearing to be held on 8/29/2022 at 11:00 AM at https://us-
08/11/2022    courts.webex.com/meet/mullin for 76, (Almaraz, Jeanette)

               100 (5 pgs) Order denying motion for leave to File Amended Complaint ( (related document # 50)
08/11/2022    Entered on 8/11/2022. (Chambers, Deanna)

               101 (1 pg) Request for transcript regarding a hearing held on 6/30/2022 - Entire Hearing. The requested
08/12/2022    turn-around time is 7-day expedited (Almaraz, Jeanette)

               102 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)100 Order denying
              motion for leave to File Amended Complaint ( (related document 50) Entered on 8/11/2022.) No. of
08/13/2022    Notices: 1. Notice Date 08/13/2022. (Admin.)

                103 (1 pg) Request for transcript regarding a hearing held on 8/11/2022. The requested turn-around time
08/17/2022    is 3-day expedited (Almaraz, Jeanette)


                    104 (100 pgs) Transcript regarding Hearing Held 06/30/22 RE: Motion for Leave to Amend. THIS
              TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
              DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 11/17/2022. Until that time
              the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
              transcriber. Court Reporter/Transcriber Lawrence Court Transcription, Telephone number 8338005288.
              (RE: related document(s) 69 Hearing held on 6/30/2022. (RE: related document(s)50 Motion for leave to
              File Amended Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections
              due by 5/31/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff
              BM318, LLC) - UNDER ADVISEMENT -). Transcript to be made available to the public on 11/17/2022.
08/19/2022    (Lawrence, Gillian)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24        Page 115 of 134          PageID 116
               105 (3 pgs) Notice of appeal . Fee Amount $298 filed by Plaintiff BM318, LLC (RE: related
08/23/2022    document(s)100 Order on motion for leave). Appellant Designation due by 09/6/2022. (Lindauer, Joyce)

               106 (11 pgs; 2 docs) Motion for leave to File Interlocutory Appeal (related document(s) 100 Order on
08/23/2022    motion for leave) filed by Plaintiff BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

                Receipt of filing fee for Notice of appeal( 21-04051-mxm) [appeal,ntcapl] ( 298.00). Receipt number
08/23/2022    AXXXXXXXX, amount $ 298.00 (re: Doc# 105). (U.S. Treasury)

08/23/2022     107 (7 pgs; 3 docs) (private) Forms (misc) (Almaraz, Jeanette)

               108 (8 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related document(s)105 Notice of
              appeal . Fee Amount $298 filed by Plaintiff BM318, LLC (RE: related document(s)100 Order on motion
              for leave). Appellant Designation due by 09/6/2022. filed by Counter-Claimant BM318, LLC, Counter-
08/23/2022    Defendant BM318, LLC, Plaintiff BM318, LLC) (Attachments: # 1 Service List) (Almaraz, Jeanette)

               109 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District Court. (RE: related
              document(s)105 Notice of appeal . Fee Amount $298 filed by Plaintiff BM318, LLC (RE: related
              document(s)100 Order on motion for leave). Appellant Designation due by 09/6/2022. filed by Counter-
08/23/2022    Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) (Almaraz, Jeanette)

08/23/2022     110 (1 pg) (private) Forms (misc) (Almaraz, Jeanette)

               111 (1 pg) Notice of docketing notice of appeal. Civil Action Number: 4:22-cv-00740-O. (RE: related
              document(s)105 Notice of appeal . Fee Amount $298 filed by Plaintiff BM318, LLC (RE: related
              document(s)100 Order on motion for leave). Appellant Designation due by 09/6/2022. filed by Counter-
              Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) (Almaraz, Jeanette)
08/23/2022    (Entered: 08/24/2022)

08/25/2022     112 (1 pg) (private) Forms (misc) (Almaraz, Jeanette)

               113 (4 pgs) BNC certificate of mailing. (RE: related document(s)109 Notice regarding the record for a
              bankruptcy appeal to the U.S. District Court. (RE: related document(s)105 Notice of appeal . Fee Amount
              $298 filed by Plaintiff BM318, LLC (RE: related document(s)100 Order on motion for leave). Appellant
              Designation due by 09/6/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318,
08/25/2022    LLC, Plaintiff BM318, LLC)) No. of Notices: 1. Notice Date 08/25/2022. (Admin.)

                114 (1 pg) Notice of docketing Motion for leave to file Interlocutory Appeal. Civil Action Number: 4:22-
              cv-00740-O. (RE: related document(s)105 Notice of appeal . Fee Amount $298 filed by Plaintiff BM318,
              LLC (RE: related document(s)100 Order on motion for leave). Appellant Designation due by 09/6/2022.
              filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC)
08/25/2022    (Almaraz, Jeanette) (Entered: 08/26/2022)

               115 Hearing reset (RE: related document(s)76 Motion to compel re: discovery Answers to Interrogatories
              and Production of Responsive Documents filed by Defendant The Dixon Water Foundation (Attachments:
              # 1 Appendix) filed by Counter-Claimant The Dixon Water Foundation, Defendant The Dixon Water
              Foundation) Hearing to be held on 9/1/2022 at 10:30 AM at https://us-courts.webex.com/meet/mullin for
08/29/2022    76, (Calfee, Jennifer)

                116 (1 pg) Request for transcript regarding a hearing held on 7/27/2022. The requested turn-around time
08/31/2022    is 3-day expedited (Almaraz, Jeanette)

09/01/2022     117 Hearing NOT held on 9/1/2022 (RE: related document(s)76 Motion to compel re: discovery Answers
              to Interrogatories and Production of Responsive Documents filed by Defendant The Dixon Water
    Case 4:24-cv-00863-P       Document
               Foundation (Attachments:     1-1 Filed
                                        # 1 Appendix) Filed09/11/24      Page The
                                                            by Counter-Claimant 116Dixon
                                                                                    of 134
                                                                                         Water PageID   117
                                                                                               Foundation,
                 Defendant The Dixon Water Foundation) - RESOLVED - (Calfee, Jennifer).


                       118 (63 pgs) Transcript regarding Hearing Held 07/27/22 RE: Hearing. THIS TRANSCRIPT WILL
                 BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER THE
                 DATE OF FILING. TRANSCRIPT RELEASE DATE IS 12/1/2022. Until that time the transcript may be
                 viewed at the Clerk's Office or a copy may be obtained from the official court transcriber. Court
                 Reporter/Transcriber Lawrence Court Transcription, Telephone number 833-800-5288. (RE: related
                 document(s) 87 Hearing held on 7/27/2022. (RE: related document(s)50 Motion for leave to File Amended
                 Complaint (related document(s) 1 Complaint) filed by Plaintiff BM318, LLC Objections due by
                 5/31/2022. filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318,
                 LLC) ***ORAL RULING - MOTION DENIED***, 88 Hearing held and continued (RE: related
                 document(s)76 Motion to compel re: discovery Answers to Interrogatories and Production of Responsive
                 Documents filed by Defendant The Dixon Water Foundation (Attachments: # 1 Appendix) filed by
                 Counter-Claimant The Dixon Water Foundation, Defendant The Dixon Water Foundation) Hearing to be
                 held on 8/1/2022 at 01:00 PM at https://us-courts.webex.com/meet/mullin for 76,). Transcript to be made
09/02/2022       available to the public on 12/1/2022. (Lawrence, Gillian)

                  119 (5 pgs) Appellant designation of contents for inclusion in record on appeal and statement of issues
                 on appeal. filed by Plaintiff BM318, LLC (RE: related document(s)105 Notice of appeal). Appellee
09/06/2022       designation due by 09/20/2022. (Lindauer, Joyce)

                  120 (2 pgs) Certificate of service re: Designation of Record and Statement of Issues on Appeal filed by
09/07/2022       Plaintiff BM318, LLC (RE: related document(s)119 Appellant designation). (Lindauer, Joyce)


                       121 (57 pgs) Transcript regarding Hearing Held 8/11/22 RE: HEARING ON MOTION TO
                 COMPEL RE: DISCOVERY FILED BY COUNTER-CLAIMANT THE DIXON WATER FOUNDATION
                 (76). THIS TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL
                 PUBLIC 90 DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 12/7/2022.
                 Until that time the transcript may be viewed at the Clerk's Office or a copy may be obtained from the
                 official court transcriber. Court Reporter/Transcriber Dipti Patel/Liberty Transcripts, Telephone number
                 847-848-4907. (RE: related document(s) 99 Hearing held and continued (RE: related document(s)76
                 Motion to compel re: discovery Answers to Interrogatories and Production of Responsive Documents filed
                 by Defendant The Dixon Water Foundation (Attachments: # 1 Appendix) filed by Counter-Claimant The
                 Dixon Water Foundation, Defendant The Dixon Water Foundation) Hearing to be held on 8/29/2022 at
                 11:00 AM at https://us-courts.webex.com/meet/mullin for 76,). Transcript to be made available to the
09/08/2022       public on 12/7/2022. (Patel, Dipti)

                  122 (9 pgs; 2 docs) Motion to abate Interlocutory Appeal Pending Ruling on BM318 LLCs (BM318)
                 Motion for Leave to File Interlocutory Appeal and Brief in Support. (related document(s)119 Appellant
                 designation) filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC, Counter-Defendant Lumar Land &
09/20/2022       Cattle, LLC (Attachments: # 1 Proposed Order) (Forshey, J.)

                  123 (9 pgs; 2 docs) Motion to abate Interlocutory Appeal, or Alternatively to Extend Deadline for Dixon
                 to Designate Additional Items to be Included in Record on Appeal (related document(s)119 Appellant
                 designation) filed by Defendant The Dixon Water Foundation (Attachments: # 1 Proposed Order) (Perry,
09/20/2022       Deborah)

                  124 (3 pgs) Appellee designation of contents for inclusion in record of appeal made subject to relief
                 requested in Motion to Abate [Adv. Pro. Docket No. 123, Dist. Ct. Docket No. 7] filed by Defendant The
09/20/2022       Dixon Water Foundation (RE: related document(s)105 Notice of appeal). (Perry, Deborah)

                  125 (9 pgs; 2 docs) Final order and judgment from District court Judge Reed O'Connor, re: appeal on
                 Civil Action number:4:22-cv-00740, BM318 LLC's Motion for Leave to File Interlocutory Appeal is
                 DENIED. Entered on 9/26/2022 (Almaraz, Jeanette) Additional attachment(s) added on 9/26/2022
09/26/2022       (Almaraz, Jeanette).
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24         Page 117 of 134         PageID 118
               126 (3 pgs) Notice of hearing(Status Conference) filed by Defendant The Dixon Water Foundation (RE:
              related document(s)1 Complaint filed by Counter-Claimant BM318, LLC, Counter-Defendant BM318,
              LLC, Plaintiff BM318, LLC). Status Conference to be held on 10/6/2022 at 09:30 AM Ft. Worth, Judge
10/03/2022    Mullin's Ctrm.. (Perry, Deborah)

               127 (3 pgs) Withdrawal filed by Intervenor-Plaintiff Lumar Land & Cattle, LLC (RE: related
              document(s)122 Motion to abate Interlocutory Appeal Pending Ruling on BM318 LLCs (BM318) Motion
              for Leave to File Interlocutory Appeal and Brief in Support. (related document(s)119 Appellant
10/04/2022    designation)). (Shepherd, Joshua)

                 (private) Motions terminated. W/D 127 (RE: related document(s)122 Motion to abate Interlocutory
              Appeal Pending Ruling on BM318 LLCs (BM318) Motion for Leave to File Interlocutory Appeal and Brief
              in Support. (related document(s)119 Appellant designation) filed by Intervenor-Plaintiff Lumar Land &
              Cattle, LLC, Counter-Defendant Lumar Land & Cattle, LLC (Attachments: # 1 Proposed Order) (Forshey,
              J.) filed by Counter-Defendant Lumar Land & Cattle, LLC, Intervenor-Plaintiff Lumar Land & Cattle,
10/04/2022    LLC) (Kerr, S.)

               128 (3 pgs) Withdrawal filed by Defendant The Dixon Water Foundation (RE: related document(s)123
              Motion to abate Interlocutory Appeal, or Alternatively to Extend Deadline for Dixon to Designate
              Additional Items to be Included in Record on Appeal (related document(s)119 Appellant designation)).
10/05/2022    (Perry, Deborah)

               129 Hearing held on 10/6/2022. (RE: related document(s)1 Adversary case 21-04051. Complaint by
              BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
              money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
              (Recovery of money/property - other). filed by Counter-Claimant BM318, LLC, Counter-Defendant
              BM318, LLC, Plaintiff BM318, LLC) ***STATUS CONFERENCE HELD - SCHEDULING ORDER TO
              BE UPLOADED WITH TRIAL DOCKET CALL DATE (3/23/23) AND DEADLINES*** (Almaraz,
10/06/2022    Jeanette)

                 (private) Motions terminated. WITHDRAWN by Defendant #128. (RE: related document(s)123 Motion
              to abate Interlocutory Appeal, or Alternatively to Extend Deadline for Dixon to Designate Additional Items
              to be Included in Record on Appeal (related document(s)119 Appellant designation) filed by Defendant
              The Dixon Water Foundation (Attachments: # 1 Proposed Order) filed by Counter-Claimant The Dixon
10/06/2022    Water Foundation, Defendant The Dixon Water Foundation) (Hyden, Kara)

               130 (3 pgs) Fourth Amended Scheduling Order (RE: related document(s)1 Complaint filed by Counter-
              Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC). Trial Docket Call date
10/06/2022    set for 3/23/2023 at 09:00 AM Ft. Worth, Judge Mullin's Ctrm.. Entered on 10/6/2022 (Chambers, Deanna)

               131 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)130 Fourth Amended
              Scheduling Order (RE: related document(s)1 Complaint filed by Counter-Claimant BM318, LLC, Counter-
              Defendant BM318, LLC, Plaintiff BM318, LLC). Trial Docket Call date set for 3/23/2023 at 09:00 AM Ft.
10/08/2022    Worth, Judge Mullin's Ctrm.. Entered on 10/6/2022) No. of Notices: 1. Notice Date 10/08/2022. (Admin.)

                (private) Motion terminated per 125 Final Order and Judgment from District Court Judge Reed
              O'Connor. (RE: related document(s)106 Motion for leave to File Interlocutory Appeal (related
              document(s) 100 Order on motion for leave) filed by Plaintiff BM318, LLC (Attachments: # 1 Proposed
10/12/2022    Order)) (Nunns, Tracy)

               132 (29 pgs; 2 docs) Notice Receiver's Notice of Stay filed by Attorney Cortney C. Thomas.
11/02/2022    (Attachments: # 1 Exhibit A - Order Appointing Receiver)(Koonce, Charlene)

03/23/2023     133 Hearing held ***NO PARTY APPEARED-COURT WILL RESET TRIAL DOCKET CALL*** (RE:
              related document(s)1 Adversary case 21-04051. Complaint by BM318, LLC against The Dixon Water
              Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of money/property - 547 preference). 13
    Case 4:24-cv-00863-P      Document -1-1
               (Recovery of money/property        Filed 09/11/24
                                           548 fraudulent                 Page 118
                                                          transfer). 14 (Recovery     of 134 PageID
                                                                                  of money/property - other).119
                                                                                                              filed by
                  Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC) Trial Docket
                  Call date set for 4/27/2023 at 09:00 AM at https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                   134 (1 pg) Notice of STATUS CONFERENCE Filed by Court(RE: related document(s)1 Complaint filed
                  by Counter-Claimant BM318, LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC). Hearing to
04/18/2023        be held on 4/27/2023 at 09:00 AM at https://us-courts.webex.com/meet/mullin for 1, (Calfee, Jennifer)

                   135 (3 pgs) BNC certificate of mailing - hearing. (RE: related document(s)134 Notice of STATUS
                  CONFERENCE Filed by Court(RE: related document(s)1 Complaint filed by Counter-Claimant BM318,
                  LLC, Counter-Defendant BM318, LLC, Plaintiff BM318, LLC). Hearing to be held on 4/27/2023 at 09:00
                  AM at https://us-courts.webex.com/meet/mullin for 1,) No. of Notices: 3. Notice Date 04/20/2023.
04/20/2023        (Admin.)

                   136 Hearing held and continued (RE: related document(s)1 Adversary case 21-04051. Complaint by
                  BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
                  money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
                  (Recovery of money/property - other).) Status Conference to be held on 6/22/2023 at 09:00 AM at
04/27/2023        https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                   137 Hearing held and continued (RE: related document(s)1 Adversary case 21-04051. Complaint by
                  BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
                  money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
                  (Recovery of money/property - other).) Status Conference to be held on 8/24/2023 at 09:00 AM at
06/22/2023        https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                    138 Status Conference held and continued (RE: related document(s)1 Adversary case 21-04051.
                  Complaint by BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12
                  (Recovery of money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent
                  transfer). 14 (Recovery of money/property - other). filed by Counter-Claimant BM318, LLC, Counter-
                  Defendant BM318, LLC, Plaintiff BM318, LLC) Status Conference to be held on 11/21/2023 at 09:00 AM
08/24/2023        at https://us-courts.webex.com/meet/mullin. (Calfee, Jennifer)

                   139 Hearing held and continued (RE: related document(s)1 Adversary case 21-04051. Complaint by
                  BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
                  money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
                  (Recovery of money/property - other). filed by Counter-Claimant BM318, LLC, Counter-Defendant
                  BM318, LLC, Plaintiff BM318, LLC) Status Conference to be held on 1/25/2024 at 09:00 AM at
11/21/2023        https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                   140 Hearing held and continued (RE: related document(s)1 Adversary case 21-04051. Complaint by
                  BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
                  money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
                  (Recovery of money/property - other).) Status Conference to be held on 3/28/2024 at 09:00 AM at
01/25/2024        https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                   141 Hearing held and continued (RE: related document(s)1 Adversary case 21-04051. Complaint by
                  BM318, LLC against The Dixon Water Foundation. Fee Amount $350. Nature(s) of suit: 12 (Recovery of
                  money/property - 547 preference). 13 (Recovery of money/property - 548 fraudulent transfer). 14
                  (Recovery of money/property - other). filed by Counter-Claimant BM318, LLC, Counter-Defendant
                  BM318, LLC, Plaintiff BM318, LLC) Status Conference to be held on 9/26/2024 at 09:00 AM at
03/28/2024        https://us-courts.webex.com/meet/mullin. (Almaraz, Jeanette)

                   142 (48 pgs; 3 docs) Final Agreed Judgment. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) Entered on
08/26/2024        8/26/2024 (Chambers, Deanna)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 119 of 134          PageID 120
               143 (7 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)142 Final Agreed
              Judgment. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) Entered on 8/26/2024) No. of Notices: 3. Notice
08/28/2024    Date 08/28/2024. (Admin.)

               144 (3 pgs) Notice of appeal . Fee Amount $298 filed by Interested Party, Timothy Barton (RE: related
              document(s)142 Judgment). Appellant Designation due by 9/20/2024. (Chambers, Deanna) Modified filer
09/06/2024    type/name on 9/6/2024 (Almaraz, Jeanette).

09/06/2024      Receipt of Adversary Direct Appeal Filing Fee - $298.00 by DC. Receipt Number 4000382. (admin)

               145 (1 pg) Clerk's correspondence requesting amended notice of appeal from interested party, Timothy
              Barton. (RE: related document(s)144 Notice of appeal . Fee Amount $298 filed by Interested Party,
              Timothy Barton (RE: related document(s)142 Judgment). Appellant Designation due by 9/20/2024.
              (Chambers, Deanna) Modified filer type/name on 9/6/2024 . filed by Interested Party Timothy Barton)
09/09/2024    Responses due by 9/11/2024.Court Services review on 9/12/2024. (Almaraz, Jeanette)

               146 (2 pgs; 2 docs) Certificate of service re: Clerk's Correspondence requesting amended notice of
              appeal (RE: related document(s)145 Clerk's correspondence). (Attachments: # 1 Clerk's correspondence)
09/09/2024    (Almaraz, Jeanette)

                (private) Clerk Entry: Called appellant re: email sent re: clerks correspondence to amend notice of
09/09/2024    appeal. No response, left voicemail. (Almaraz, Jeanette) (Entered: 09/10/2024)

               147 (52 pgs) Amended notice of appeal filed by Interested Party Timothy Barton (RE: related
09/10/2024    document(s) 144 Notice of appeal). (Nunns, Tracy)

09/10/2024     148 (7 pgs; 3 docs) (private) Forms (misc) (Almaraz, Jeanette)

                149 (56 pgs; 3 docs) Certificate of mailing regarding appeal (RE: related document(s)147 Amended
              notice of appeal filed by Interested Party Timothy Barton (RE: related document(s) 144 Notice of appeal).
09/10/2024    filed by Interested Party Timothy Barton) (Attachments: # 1 Service List) (Almaraz, Jeanette)

09/11/2024     150 (1 pg) (private) Forms (misc) (Almaraz, Jeanette)

               151 (2 pgs) Notice regarding the record for a bankruptcy appeal to the U.S. District Court. (RE: related
09/11/2024    document(s)144 Notice of appeal) (Almaraz, Jeanette)
     Case 4:24-cv-00863-P         Document 1-1          Filed 09/11/24         Page 120 of 134 PageID 121
                                                                                             REFORM, EXHIBITS


                                        U.S. Bankruptcy Court
                                  Northern District of Texas (Ft. Worth)
                                 Bankruptcy Petition #: 20-42789-mxm11
                                                  Internal Use Only
                                                                                              Date filed: 09/01/2020
Assigned to: Mark X. Mullin                                                      Date Plan Confirmed: 08/02/2021
Chapter 11                                                                              Plan confirmed: 08/02/2021
                                                                                           341 meeting: 10/02/2020
Voluntary
                                                                            Deadline for filing claims: 12/31/2020
Asset                                                                 Deadline for filing claims (govt.): 03/31/2021




Debtor                                                             represented by Joyce W. Lindauer
BM318, LLC                                                                        Joyce W. Lindauer Attorney, PLLC
13901 Midway Road                                                                 1412 Main Street
Suite 102                                                                         Suite 500
Dallas, TX 75244                                                                  Dallas, TX 75202
PARKER-TX                                                                         (972) 503-4033
Tax ID / EIN: XX-XXXXXXX                                                          Fax : (972) 503-4034
                                                                                  Email: joyce@joycelindauer.com

U.S. Trustee                                                       represented by Elizabeth Ziegler Young
United States Trustee                                                             U.S. Trustee Office
1100 Commerce Street                                                              1100 Commerce Street, Room 976
Room 976                                                                          Dallas, TX 75242
Dallas, TX 75202                                                                  (214) 767-8967
214-767-8967                                                                      Fax : (214) 767-8971
                                                                                  Email: elizabeth.a.young@usdoj.gov


   Filing Date                                                  Docket Text

                   1 (5 pgs) Non-individual Chapter 11 Voluntary Petition. Fee Amount $1717 Filed by BM318, LLC
 09/01/2020       (Lindauer, Joyce)

                    Receipt of filing fee for Voluntary petition (chapter 11)(20-42789-11) [misc,volp11a] (1717.00). Receipt
 09/01/2020       number 28063279, amount $1717.00 (re: Doc# 1). (U.S. Treasury)

                   2 (2 pgs) Notice of Appearance and Request for Notice by Robert W. Buchholz filed by Creditor
 09/01/2020       Southern Star Capital, LLC. (Buchholz, Robert)

                   3 (2 pgs) Notice of deficiency. Schedule A/B due 9/15/2020. Schedule D due 9/15/2020. Schedule E/F
                  due 9/15/2020. Schedule G due 9/15/2020. Schedule H due 9/15/2020. Declaration Under Penalty of
                  Perjury for Non-individual Debtors due 9/15/2020. Summary of Assets and Liabilities and Certain
                  Statistical Information due 9/15/2020. Statement of Financial Affairs due 9/15/2020. Creditor matrix due
 09/01/2020       9/3/2020. 20 Largest Unsecured Creditors due 9/3/2020. (Dugan, S.)

                   4 (1 pg) Notice of Appearance and Request for Notice by Laurie A. Spindler filed by Creditor Parker
 09/02/2020       CAD. (Spindler, Laurie)
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24         Page 121 of 134          PageID 122
               5 (3 pgs; 2 docs) INCORRECT ENTRY: WRONG EVENT USED. Motion to extend time to File
              Creditor Matrix and List of Twenty Largest Unsecured Creditors Filed by Debtor BM318, LLC
09/02/2020    (Attachments: # 1 Proposed Order) (Lindauer, Joyce) MODIFIED on 10/20/2020 (Whitaker, Sherri).

               6 (3 pgs) BNC certificate of mailing. (RE: related document(s)3 Notice of deficiency. Schedule A/B due
              9/15/2020. Schedule D due 9/15/2020. Schedule E/F due 9/15/2020. Schedule G due 9/15/2020. Schedule
              H due 9/15/2020. Declaration Under Penalty of Perjury for Non-individual Debtors due 9/15/2020.
              Summary of Assets and Liabilities and Certain Statistical Information due 9/15/2020. Statement of
              Financial Affairs due 9/15/2020. Creditor matrix due 9/3/2020. 20 Largest Unsecured Creditors due
09/03/2020    9/3/2020. (Dugan, S.)) No. of Notices: 1. Notice Date 09/03/2020. (Admin.)

               7 (3 pgs) Creditor matrix . Filed by Debtor BM318, LLC (RE: related document(s)3 Notice of
09/04/2020    deficiency). (Lindauer, Joyce)

               8 (3 pgs) Meeting of creditors 341(a) meeting to be held on 10/2/2020 at 10:30 AM by TELEPHONE.
09/04/2020    Proofs of Claims due by 12/31/2020. Government Proof of Claim due by 3/31/2021. (Neary, William)

               9 (2 pgs) Chapter 11 or Chapter 9 Cases Non- Individual List of Creditors Who Have 20 Largest
              Unsecured Claims Against You and Are Not Insiders . Filed by Debtor BM318, LLC (RE: related
09/04/2020    document(s)3 Notice of deficiency). (Lindauer, Joyce)

               10 (1 pg) (private) Declaration for electronic filing of Petition and Matrix filed by Debtor BM318, LLC.
09/10/2020    (Lindauer, Joyce)

               11 (3 pgs) Certificate of service re: Meeting of Creditors filed by Debtor BM318, LLC (RE: related
09/11/2020    document(s)8 Meeting of creditors Chapter 11). (Lindauer, Joyce)

               12 (4 pgs) BNC certificate of mailing - meeting of creditors. (RE: related document(s)8 Meeting of
              creditors 341(a) meeting to be held on 10/2/2020 at 10:30 AM by TELEPHONE. Proofs of Claims due by
              12/31/2020. Government Proof of Claim due by 3/31/2021.) No. of Notices: 1. Notice Date 09/11/2020.
09/11/2020    (Admin.)

               13 (4 pgs; 2 docs) Motion to extend time to file schedules or new case deficiencies, excluding matrix
09/15/2020    Filed by Debtor BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

               14 (3 pgs) Certificate of Conference - Amended filed by Debtor BM318, LLC (RE: related
              document(s)13 Motion to extend time to file schedules or new case deficiencies, excluding matrix).
09/16/2020    (Lindauer, Joyce)

               15 (21 pgs; 2 docs) Application to employ Joyce W. Lindauer Attorney, PLLC as Attorney Filed by
09/17/2020    Debtor BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

               16 (1 pg) Order granting 13 Motion to extend time. (Re: related document(s) 3 Notice of deficiency)
              Schedule A/B due 9/22/2020 for 3, Schedule D due 9/22/2020 for 3, Schedule E/F due 9/22/2020 for 3,
              Schedule G due 9/22/2020 for 3, Schedule H due 9/22/2020 for 3, Statement of Financial Affairs due
              9/22/2020 for 3, Summary of Assets and Liabilities and Certain Statistical Information due 9/22/2020 for
              3, Declaration Under Penalty of Perjury for Non-individual Debtors due 9/22/2020 for 3, Entered on
09/18/2020    9/18/2020. (Chambers, Deanna)

               17 (30 pgs; 6 docs) Motion for relief from stay Fee amount $181, Filed by Creditor Southern Star
              Capital, LLC Objections due by 10/5/2020. (Attachments: # 1 Exhibit 1, Legal Description # 2 Exhibit 2.
              Promissory Note # 3 Exhibit 3. Deed of Trust # 4 Exhibit 4. Order Denying Injunction # 5 Exhibit 5.
09/21/2020    Affidavit) (Buchholz, Robert)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 122 of 134           PageID 123
               18 (2 pgs) Notice of hearing filed by Creditor Southern Star Capital, LLC (RE: related document(s)17
              Motion for relief from stay Fee amount $181, Filed by Creditor Southern Star Capital, LLC Objections due
              by 10/5/2020. (Attachments: # 1 Exhibit 1, Legal Description # 2 Exhibit 2. Promissory Note # 3 Exhibit
              3. Deed of Trust # 4 Exhibit 4. Order Denying Injunction # 5 Exhibit 5. Affidavit)). Preliminary hearing to
09/21/2020    be held on 10/8/2020 at 09:30 AM at Ft. Worth, Judge Mullin's Ctrm.. (Buchholz, Robert)

                Receipt of filing fee for Motion for relief from stay(20-42789-mxm11) [motion,mrlfsty] ( 181.00).
09/21/2020    Receipt number 28117026, amount $ 181.00 (re: Doc# 17). (U.S. Treasury)

               19 (2 pgs) Amended Notice of hearing filed by Creditor Southern Star Capital, LLC (RE: related
              document(s)17 Motion for relief from stay Fee amount $181, Filed by Creditor Southern Star Capital, LLC
              Objections due by 10/5/2020. (Attachments: # 1 Exhibit 1, Legal Description # 2 Exhibit 2. Promissory
              Note # 3 Exhibit 3. Deed of Trust # 4 Exhibit 4. Order Denying Injunction # 5 Exhibit 5. Affidavit)).
              Preliminary hearing to be held on 10/8/2020 at 09:30 AM at Ft. Worth, Judge Mullin's Ctrm.. (Buchholz,
09/21/2020    Robert)

               20 (18 pgs) Schedules: Schedules A/B and D-H with Summary of Assets and Liabilities (with
              Declaration Under Penalty of Perjury for Non-Individual Debtors,). Filed by Debtor BM318, LLC (RE:
09/22/2020    related document(s)3 Notice of deficiency). (Lindauer, Joyce)

               21 (7 pgs) Statement of financial affairs for a non-individual . Filed by Debtor BM318, LLC (RE: related
09/22/2020    document(s)3 Notice of deficiency). (Lindauer, Joyce)

               22 (1 pg) (private) Declaration for electronic filing of Schedules and Statement of Financial Affairs filed
09/22/2020    by Debtor BM318, LLC. (Lindauer, Joyce)

               23 (2 pgs) Notice of Appearance and Request for Notice by Scott A. Ritcheson filed by Creditor Citizens
09/24/2020    Bank. (Ritcheson, Scott)

                Trustee's initial report of meeting of creditors held on 10/2/2020 (RE: related document(s)8 Meeting of
10/02/2020    creditors Chapter 11) (Young, Elizabeth)

               24 (7 pgs) Objection to (related document(s): 17 Motion for relief from stay Fee amount $181, filed by
10/02/2020    Creditor Southern Star Capital, LLC) filed by Debtor BM318, LLC. (Lindauer, Joyce)

               25 (2 pgs) Notice of hearing filed by Creditor Citizens Bank (RE: related document(s)17 Motion for
              relief from stay Fee amount $181, Filed by Creditor Southern Star Capital, LLC Objections due by
              10/5/2020. (Attachments: # 1 Exhibit 1, Legal Description # 2 Exhibit 2. Promissory Note # 3 Exhibit 3.
              Deed of Trust # 4 Exhibit 4. Order Denying Injunction # 5 Exhibit 5. Affidavit)). Hearing to be held on
10/05/2020    11/16/2020 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 17, (Buchholz, Robert)

               26 (2 pgs) Disclosure of compensation of attorney for debtor . Filed by Debtor BM318, LLC. (Lindauer,
10/08/2020    Joyce)

               27 (2 pgs) Certificate of No Objection filed by Debtor BM318, LLC (RE: related document(s)15
10/09/2020    Application to employ Joyce W. Lindauer Attorney, PLLC as Attorney ). (Lindauer, Joyce)

               28 (2 pgs) Order granting application to employ Joyce Lindauer as Attorney (related document # 15)
10/13/2020    Entered on 10/13/2020. (Chambers, Deanna)

               29 (10 pgs) Debtor-in-possession monthly operating report for filing period September 1, 2020 to
10/21/2020    September 30, 2020 filed by Debtor BM318, LLC. (Lindauer, Joyce)

11/02/2020     30 (30 pgs; 6 docs) Amended Motion for relief from stay (related document: 17) Filed by Creditor
              Southern Star Capital, LLC (Attachments: # 1 Exhibit 1. Legal Description # 2 Exhibit 2. Promissory Note
    Case 4:24-cv-00863-P        Document
               # 3 Exhibit 3. Deed of Trust # 41-1
                                                ExhibitFiled 09/11/24
                                                        4. Order           Page 123
                                                                 Denying Temporary      of 134
                                                                                   Injunction      PageID
                                                                                              # 5 Exhibit     124 of
                                                                                                          5. Affidavit
                  Al Keller) (Buchholz, Robert)

                   31 (2 pgs) Amended Notice of hearing filed by Creditor Southern Star Capital, LLC (RE: related
                  document(s)17 Motion for relief from stay Fee amount $181, Filed by Creditor Southern Star Capital, LLC
                  Objections due by 10/5/2020. (Attachments: # 1 Exhibit 1, Legal Description # 2 Exhibit 2. Promissory
                  Note # 3 Exhibit 3. Deed of Trust # 4 Exhibit 4. Order Denying Injunction # 5 Exhibit 5. Affidavit), 30
                  Amended Motion for relief from stay (related document: 17) Filed by Creditor Southern Star Capital, LLC
                  (Attachments: # 1 Exhibit 1. Legal Description # 2 Exhibit 2. Promissory Note # 3 Exhibit 3. Deed of
                  Trust # 4 Exhibit 4. Order Denying Temporary Injunction # 5 Exhibit 5. Affidavit of Al Keller)). Hearing
                  to be held on 11/16/2020 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 30 and for 17, (Buchholz,
11/02/2020        Robert)

                   32 (7 pgs) Objection to (related document(s): 30 Amended Motion for relief from stay (related
                  document: 17) filed by Creditor Southern Star Capital, LLC) filed by Debtor BM318, LLC. (Lindauer,
11/04/2020        Joyce)

                   33 (1 pg) Notice of Telephone/Video information for November 16, 2020 at 1:30 PM (RE: related
11/10/2020        document(s)30 Motion for relief from stay filed by Creditor Southern Star Capital, LLC). (Calfee, J.)

                   34 (89 pgs; 12 docs) Witness and Exhibit List filed by Creditor Southern Star Capital, LLC (RE: related
                  document(s)30 Amended Motion for relief from stay (related document: 17)). (Attachments: # 1 Exhibit 1.
                  # 2 Exhibit 2. # 3 Exhibit 3. # 4 Exhibit 4. # 5 Exhibit 5. # 6 Exhibit 6. # 7 Exhibit 7. # 8 Exhibit 8. # 9
11/10/2020        Exhibit 9. # 10 Exhibit 10. # 11 Exhibit 11.) (Buchholz, Robert)

                   35 (157 pgs; 9 docs) Witness and Exhibit List filed by Debtor BM318, LLC (RE: related document(s)30
                  Amended Motion for relief from stay (related document: 17)). (Attachments: # 1 Exhibit A # 2 Exhibit B #
11/11/2020        3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H) (Lindauer, Joyce)

11/13/2020         36 (16 pgs) Chapter 11 plan filed by Debtor BM318, LLC. (Lindauer, Joyce)

11/13/2020         37 (54 pgs) Disclosure statement filed by Debtor BM318, LLC. (Lindauer, Joyce)

                   38 (1 pg) Court admitted exhibits date of hearing 11/16/2020 (RE: related document(s)30 Amended
                  Motion for relief from stay (related document: 17) Filed by Creditor Southern Star Capital, LLC
                  (Attachments: # 1 Exhibit 1. Legal Description # 2 Exhibit 2. Promissory Note # 3 Exhibit 3. Deed of
                  Trust # 4 Exhibit 4. Order Denying Temporary Injunction # 5 Exhibit 5. Affidavit of Al Keller)) (Calfee, J.)
11/16/2020        (Entered: 11/19/2020)

                   39 (16 pgs) Amended chapter 11 plan filed by Debtor BM318, LLC (RE: related document(s)36 Chapter
11/19/2020        11 plan). (Lindauer, Joyce)

                   40 (54 pgs) Amended disclosure statement filed by Debtor BM318, LLC (RE: related document(s)37
11/19/2020        Disclosure statement). (Lindauer, Joyce)

                   41 (11 pgs) Debtor-in-possession monthly operating report for filing period October 1, 2020 to October
11/23/2020        31, 2020 filed by Debtor BM318, LLC. (Lindauer, Joyce)

                   42 (2 pgs) Order Setting hearing (RE: related document(s)40 Disclosure statement filed by Debtor
                  BM318, LLC). Hearing to be held on 12/29/2020 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 40,
11/24/2020        Entered on 11/24/2020 (Chambers, Deanna)

                   43 (1 pg) Notice of hearing filed by Debtor BM318, LLC (RE: related document(s)40 Amended
                  disclosure statement filed by Debtor BM318, LLC (RE: related document(s)37 Disclosure statement).).
11/25/2020        Hearing to be held on 12/29/2020 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 40, (Lindauer, Joyce)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24        Page 124 of 134          PageID 125
                44 (2 pgs) Order conditioning motion for relief from stay by Creditor Southern Star Capital, LLC
12/01/2020    (related document # 30) Entered on 12/1/2020. (Chambers, Deanna)

               45 (3 pgs) Certificate of service re: filed by Debtor BM318, LLC (RE: related document(s)39 Chapter 11
12/03/2020    plan, 40 Disclosure statement, 42 Order to set hearing, 43 Notice of hearing). (Lindauer, Joyce)

               46 (2 pgs) Certificate of service re: filed by Debtor BM318, LLC (RE: related document(s)43 Notice of
12/03/2020    hearing). (Lindauer, Joyce)

               47 (10 pgs) INCORRECT ENTRY: Missing case number. Debtor-in-possession monthly operating report
              for filing period to filed by Debtor BM318, LLC. (Lindauer, Joyce) MODIFIED on 12/22/2020 (Munoz,
12/22/2020    Kristina).

               48 (11 pgs) Objection to disclosure statement (RE: related document(s)40 Disclosure statement) filed by
12/22/2020    Creditor Southern Star Capital, LLC. (Buchholz, Robert)

               49 (10 pgs) Debtor-in-possession monthly operating report for filing period to filed by Debtor BM318,
12/22/2020    LLC. (Lindauer, Joyce)

               50 (147 pgs; 16 docs) Witness and Exhibit List filed by Creditor Southern Star Capital, LLC (RE: related
              document(s)40 Disclosure statement). (Attachments: # 1 Exhibit No. 1 # 2 Exhibit No. 2 # 3 Exhibit No. 3
              # 4 Exhibit No. 4 # 5 Exhibit No. 5 # 6 Exhibit No. 6 # 7 Exhibit No. 7 # 8 Exhibit No. 8 # 9 Exhibit No. 9
              # 10 Exhibit No. 10 # 11 Exhibit No. 11 # 12 Exhibit No. 12 # 13 Exhibit No. 13 # 14 Exhibit No. 14 # 15
12/23/2020    Exhibit No. 15) (Buchholz, Robert)

               51 (108 pgs; 8 docs) Witness and Exhibit List filed by Debtor BM318, LLC (RE: related document(s)40
              Disclosure statement). (Attachments: # 1 Exhibit A-Docket Sheet # 2 Exhibit B-First Amended Plan # 3
              Exhibit C-First Amended Disclosure Statement # 4 Exhibit D-Schedules # 5 Exhibit E- Statement of
              Financial Affairs # 6 Exhibit F-Claims Register # 7 Exhibit G-Order Conditioning the Stay) (Lindauer,
12/23/2020    Joyce)

               52 (5 pgs) Amended disclosure statement filed by Debtor BM318, LLC (RE: related document(s)40
12/28/2020    Disclosure statement). (Lindauer, Joyce)

               53 Hearing held on 12/29/2020 (RE: related document(s) 40 Amended disclosure statement filed by
              Debtor BM318, LLC (RE: related document(s)37 Disclosure statement). Filed by Debtor BM318, LLC)
12/29/2020    ***ORDER TO BE UPLOADED*** (Rueter, Karyn)

               54 (9 pgs) Amended Schedules: A/B, G, (with Declaration Under Penalty of Perjury for Non-Individual
01/04/2021    Debtors,). Filed by Debtor BM318, LLC. (Lindauer, Joyce)

               55 (8 pgs) Statement of financial affairs for a non-individual -AMENDED. Filed by Debtor BM318,
01/04/2021    LLC. (Lindauer, Joyce)

               56 (67 pgs) Amended disclosure statement filed by Debtor BM318, LLC (RE: related document(s)37
01/04/2021    Disclosure statement). (Lindauer, Joyce)

               57 (2 pgs) Order approving disclosure statement and setting hearing on confirmation of plan (RE: related
              document(s)36 Chapter 11 plan filed by Debtor BM318, LLC). Confirmation hearing to be held on
              2/10/2021 at 01:30 PM at Ft. Worth, Judge Mullin's Ctrm.. Last day to Object to Confirmation 2/3/2021.
01/05/2021    Ballots due 2/5/2021. Entered on 1/5/2021 (Chambers, Deanna)

01/08/2021     58 (1 pg) Notice of hearing/Notice of Hearing on Confirmation of Plan of Reorganization filed by
              Debtor BM318, LLC (RE: related document(s)39 Amended chapter 11 plan filed by Debtor BM318, LLC
    Case 4:24-cv-00863-P        Document
               (RE: related document(s)36   1-1 11Filed
                                          Chapter  plan).).09/11/24
                                                            Confirmation Page
                                                                         hearing125
                                                                                to beof 134
                                                                                     held       PageID
                                                                                          on 2/10/2021    126 PM
                                                                                                       at 01:30
                 at Ft. Worth, Judge Mullin's Ctrm.. (Lindauer, Joyce)

                  59 (3 pgs) Certificate of service re: filed by Debtor BM318, LLC (RE: related document(s)39 Chapter 11
                 plan, 56 Disclosure statement, 57 Order approving disclosure statement, 58 Notice of hearing). (Lindauer,
01/08/2021       Joyce)

                  60 (11 pgs) Debtor-in-possession monthly operating report for filing period December 1, 2020 to
01/20/2021       December 31, 2020 filed by Debtor BM318, LLC. (Lindauer, Joyce)

                  61 (1 pg) Notice of WebEx Instructions for February 10th at 1:30 pm(RE: related document(s)58 Notice
                 of hearing/Notice of Hearing on Confirmation of Plan of Reorganization filed by Debtor BM318, LLC
                 (RE: related document(s)39 Amended chapter 11 plan filed by Debtor BM318, LLC (RE: related
                 document(s)36 Chapter 11 plan).). Confirmation hearing to be held on 2/10/2021 at 01:30 PM at Ft. Worth,
02/01/2021       Judge Mullin's Ctrm..). (Calfee, J.)

                  62 (4 pgs; 2 docs) Motion to continue hearing on (related documents 39 Chapter 11 plan) Filed by
02/01/2021       Debtor BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

                  63 (1 pg) Order granting motion to continue hearing on (related document # 62) (related documents
                 Chapter 11 plan) Confirmation hearing to be held on 3/18/2021 at 01:30 PM at Ft. Worth, Judge Mullin's
02/03/2021       Ctrm.. Entered on 2/3/2021. (Chambers, Deanna)

                  64 (4 pgs) Objection to confirmation of plan (RE: related document(s)39 Chapter 11 plan) filed by
02/03/2021       Creditor Parker CAD. (Spindler, Laurie)

                  65 (11 pgs) Debtor-in-possession monthly operating report for filing period 1/1/21 to 1/31/21 filed by
02/22/2021       Debtor BM318, LLC. (Lindauer, Joyce)

                  66 (3 pgs) Certificate of service re: filed by Debtor BM318, LLC (RE: related document(s)63 Order on
02/28/2021       motion to continue hearing). (Lindauer, Joyce)

                   67 (4 pgs) Notice of hearing/Notice of Rescheduled Hearing on Confirmation of Plan of Reorganization
                 filed by Debtor BM318, LLC (RE: related document(s)39 Amended chapter 11 plan filed by Debtor
                 BM318, LLC (RE: related document(s)36 Chapter 11 plan).). Confirmation hearing to be held on
03/11/2021       4/14/2021 at 09:30 AM at https://us-courts.webex.com/meet/mullin. (Lindauer, Joyce)

                  68 (4 pgs) Objection to confirmation of plan (RE: related document(s)39 Chapter 11 plan) filed by
03/12/2021       Creditor Parker CAD. (Spindler, Laurie)

                  69 (6 pgs) Debtor-in-possession monthly operating report for filing period February 1, 2021 to February
03/23/2021       28, 2021 filed by Debtor BM318, LLC. (Lindauer, Joyce)

                  70 (25 pgs; 2 docs) Motion to sell property free and clear of liens under Section 363(f) Fee amount $188,
                 Filed by Debtor BM318, LLC Objections due by 4/27/2021. (Attachments: # 1 Proposed Order) (Lindauer,
04/06/2021       Joyce)

                   Receipt of filing fee for Motion to Sell(20-42789-mxm11) [motion,msell] ( 188.00). Receipt number
04/06/2021       28618662, amount $ 188.00 (re: Doc# 70). (U.S. Treasury)

                  71 (3 pgs) Notice of hearing filed by Debtor BM318, LLC (RE: related document(s)70 Motion to sell
                 property free and clear of liens under Section 363(f) Fee amount $188, Filed by Debtor BM318, LLC
                 Objections due by 4/27/2021. (Attachments: # 1 Proposed Order)). Hearing to be held on 4/29/2021 at
04/06/2021       01:30 PM at https://us-courts.webex.com/meet/mullin for 70, (Lindauer, Joyce)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 126 of 134          PageID 127
               72 (4 pgs) Amended Notice of hearing filed by Debtor BM318, LLC (RE: related document(s)70 Motion
              to sell property free and clear of liens under Section 363(f) Fee amount $188, Filed by Debtor BM318,
              LLC Objections due by 4/27/2021. (Attachments: # 1 Proposed Order)). Hearing to be held on 4/29/2021
04/06/2021    at 01:30 PM at https://us-courts.webex.com/meet/mullin for 70, (Lindauer, Joyce)

                73 (2 pgs) Notice of hearing/Notice of Rescheduled Hearing on Confirmation of Plan of Reorganization
              filed by Debtor BM318, LLC (RE: related document(s)39 Amended chapter 11 plan filed by Debtor
              BM318, LLC (RE: related document(s)36 Chapter 11 plan).). Confirmation hearing to be held on
04/12/2021    5/12/2021 at 01:30 PM at https://us-courts.webex.com/meet/mullin. (Lindauer, Joyce)

               74 (11 pgs; 2 docs) Objection to (related document(s): 70 Motion to sell property free and clear of liens
              under Section 363(f) Fee amount $188, filed by Debtor BM318, LLC) filed by Debtor Citizens Bank
              (Attachments: # 1 Mail Matrix) (Ritcheson, Scott) MODIFIED to correct filed by party on 4/27/2021
04/22/2021    (Calfee, J.).

               75 (66 pgs; 4 docs) Witness and Exhibit List filed by Debtor BM318, LLC (RE: related document(s)70
              Motion to sell property free and clear of liens under Section 363(f) Fee amount $188,). (Attachments: # 1
04/26/2021    Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3) (Lindauer, Joyce)

               76 (4 pgs) Objection to (related document(s): 70 Motion to sell property free and clear of liens under
              Section 363(f) Fee amount $188, filed by Debtor BM318, LLC) filed by Creditor Parker CAD. (Spindler,
04/27/2021    Laurie)

               77 (8 pgs) Debtor-in-possession monthly operating report for filing period March 1, 2021 to March 31,
04/28/2021    2021 filed by Debtor BM318, LLC. (Lindauer, Joyce)

               78 (10 pgs) Agreed Order granting motion to sell (related document # 70) Entered on 4/29/2021.
04/29/2021    (Chambers, Deanna)

               79 (6 pgs) Modified chapter 11 plan filed by Debtor BM318, LLC (RE: related document(s)39 Chapter
05/05/2021    11 plan). (Lindauer, Joyce)

               80 (7 pgs) Amended disclosure statement filed by Debtor BM318, LLC (RE: related document(s)56
05/05/2021    Disclosure statement). (Lindauer, Joyce)

               81 (178 pgs; 8 docs) Witness and Exhibit List filed by Debtor BM318, LLC (RE: related document(s)39
              Chapter 11 plan). (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6
05/07/2021    Exhibit 6 # 7 Exhibit 7) (Lindauer, Joyce)

               82 (16 pgs) Amended Schedules: A/B, with Summary of Assets and Liabilities (with Declaration Under
05/10/2021    Penalty of Perjury for Non-Individual Debtors,). Filed by Debtor BM318, LLC. (Lindauer, Joyce)

               83 (7 pgs) Amended Schedules: E/F, with Summary of Assets and Liabilities (Adding additional creditor
              or creditors) fee Amount $32 (with Declaration Under Penalty of Perjury for Non-Individual Debtors,).
05/10/2021    Filed by Debtor BM318, LLC. (Lindauer, Joyce)

               84 (1 pg) (private) Declaration for electronic filing of Amended Schedules A/B and E/F filed by Debtor
05/10/2021    BM318, LLC. (Lindauer, Joyce)

                Receipt of filing fee for Schedules(20-42789-mxm11) [misc,schedall] ( 32.00). Receipt number
05/10/2021    28700422, amount $ 32.00 (re: Doc# 83). (U.S. Treasury)

05/10/2021     85 (4 pgs) Notice of Comment Regarding Confirmation of Amended Plan filed by Creditor Citizens Bank
              (RE: related document(s)39 Amended chapter 11 plan filed by Debtor BM318, LLC (RE: related
    Case 4:24-cv-00863-P      Document
               document(s)36 Chapter        1-179 Modified
                                     11 plan).,    Filed 09/11/24
                                                           chapter 11 planPage    127
                                                                           filed by   of 134
                                                                                    Debtor BM318,PageID
                                                                                                  LLC (RE:128
                                                                                                           related
                  document(s)39 Chapter 11 plan).). (Ritcheson, Scott)

                   86 (2 pgs) Witness and Exhibit List filed by Interested Party Dixon Water Foundation (RE: related
05/11/2021        document(s)39 Chapter 11 plan, 79 Chapter 11 plan). (Perry, Deborah)

                   87 (6 pgs) Objection to confirmation of plan (RE: related document(s)39 Chapter 11 plan, 79 Chapter 11
05/11/2021        plan) filed by Interested Party Dixon Water Foundation. (Perry, Deborah)

                   88 (2 pgs) Modified chapter 11 plan filed by Debtor BM318, LLC (RE: related document(s)39 Chapter
05/11/2021        11 plan). (Lindauer, Joyce)

05/11/2021         89 (3 pgs) Chapter 11 ballot summary filed by Debtor BM318, LLC. (Lindauer, Joyce)

                   90 (3 pgs) Expedited Motion to continue hearing on (related documents 39 Chapter 11 plan, 79 Chapter
05/12/2021        11 plan, 88 Chapter 11 plan) Filed by Interested Party Dixon Water Foundation (Perry, Deborah)

                   91 (3 pgs) Motion for expedited hearing(related documents 90 Motion to continue) Filed by Interested
05/12/2021        Party Dixon Water Foundation (Perry, Deborah)

                   92 Hearing set - expedited request granted (RE: related document(s)90 Expedited Motion to continue
                  hearing on (related documents 39 Chapter 11 plan, 79 Chapter 11 plan, 88 Chapter 11 plan) Filed by
                  Interested Party Dixon Water Foundation) Hearing to be held on 5/12/2021 at 01:30 PM at https://us-
05/12/2021        courts.webex.com/meet/mullin for 90, (Calfee, J.)

                   93 (9 pgs) Amended Schedules: A/B, with Summary of Assets and Liabilities (with Declaration Under
05/12/2021        Penalty of Perjury for Non-Individual Debtors,). Filed by Debtor BM318, LLC. (Lindauer, Joyce)

                   94 (4 pgs) Objection to (related document(s): 90 Expedited Motion to continue hearing on (related
                  documents 39 Chapter 11 plan, 79 Chapter 11 plan, 88 Chapter 11 plan) filed by Interested Party Dixon
05/12/2021        Water Foundation) filed by Debtor BM318, LLC. (Lindauer, Joyce)

                   95 (2 pgs) Notice of hearing filed by Interested Party Dixon Water Foundation (RE: related
                  document(s)90 Expedited Motion to continue hearing on (related documents 39 Chapter 11 plan, 79
                  Chapter 11 plan, 88 Chapter 11 plan) Filed by Interested Party Dixon Water Foundation). Hearing to be
05/12/2021        held on 5/12/2021 at 01:30 PM at https://us-courts.webex.com/meet/mullin for 90, (Perry, Deborah)

                   96 (1 pg) (private) Declaration for electronic filing of Amended Schedules A/B filed by Debtor BM318,
05/12/2021        LLC. (Lindauer, Joyce)

                    97 Hearing held on 5/12/2021. (RE: related document(s)90 Expedited Motion to continue hearing on
                  (related documents 39 Chapter 11 plan, 79 Chapter 11 plan, 88 Chapter 11 plan) Filed by Interested Party
05/12/2021        Dixon Water Foundation) ***GRANTED*** (Rueter, Karyn)

                   98 Hearing reset (RE: related document(s)39 Amended chapter 11 plan filed by Debtor BM318, LLC
                  (RE: related document(s)36 Chapter 11 plan).) Confirmation hearing to be held on 5/26/2021 at 09:30 AM
05/12/2021        at https://us-courts.webex.com/meet/mullin. (Rueter, Karyn)

                   99 (2 pgs) Withdrawal of Second Modification to Debtor's First Amended Plan of Reorganization filed
05/25/2021        by Debtor BM318, LLC (RE: related document(s)88 Chapter 11 plan). (Lindauer, Joyce)

                   100 (4 pgs) Third Modified to debtor's first amended chapter 11 plan of reorganization filed by Debtor
                  BM318, LLC (RE: related document(s)36 Chapter 11 plan). (Lindauer, Joyce) Modified on 5/25/2021
05/25/2021        (Cumby, C).
    Case 4:24-cv-00863-P       Document 1-1         Filed 09/11/24         Page 128 of 134          PageID 129
                (private) Documents terminated per withdrawal document number 99. (RE: related document(s)88
              Modified chapter 11 plan filed by Debtor BM318, LLC (RE: related document(s)39 Chapter 11 plan).)
05/25/2021    (Cumby, C)

               101 Hearing held on 5/26/2021. (RE: related document(s)39 Amended chapter 11 plan filed by Debtor
05/26/2021    BM318, LLC (RE: related document(s)36 Chapter 11 plan).) ***CONFIRMED*** (Rueter, Karyn)

               102 (1 pg) Court admitted exhibits date of hearing 5/26/2021 (RE: related document(s)39 Amended
              chapter 11 plan filed by Debtor BM318, LLC (RE: related document(s)36 Chapter 11 plan).) (Rueter,
05/26/2021    Karyn)

               103 (8 pgs) Debtor-in-possession monthly operating report for filing period April 1, 2021 to April 30,
05/28/2021    2021 filed by Debtor BM318, LLC. (Lindauer, Joyce)

               104 (8 pgs) Chapter 11 Monthly Operating Report for the Month Ending: 05/31/2021 filed by Debtor
06/21/2021    BM318, LLC. (Lindauer, Joyce)

               105 (4 pgs) Chapter 11 Monthly Operating Report for the Month Ending: 06/30/2021 filed by Debtor
07/30/2021    BM318, LLC. (Lindauer, Joyce)

               106 (3 pgs) Order confirming chapter 11 plan (RE: related document(s)36 Chapter 11 plan filed by
              Debtor BM318, LLC, 100 Chapter 11 plan filed by Debtor BM318, LLC). Entered on 8/2/2021
08/02/2021    (Chambers, Deanna)

               107 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)106 Order confirming
              chapter 11 plan (RE: related document(s)36 Chapter 11 plan filed by Debtor BM318, LLC, 100 Chapter 11
              plan filed by Debtor BM318, LLC). Entered on 8/2/2021) No. of Notices: 1. Notice Date 08/04/2021.
08/04/2021    (Admin.)

               108 (9 pgs) Adversary case 21-04051. Complaint by BM318, LLC against The Dixon Water Foundation.
              Fee Amount $350. Nature(s) of suit: 12 (Recovery of money/property - 547 preference). 13 (Recovery of
08/10/2021    money/property - 548 fraudulent transfer). 14 (Recovery of money/property - other). (Lindauer, Joyce)

               109 (3 pgs) Chapter 11 Post-Confirmation Report for the Quarter Ending: 09/30/2021 filed by Debtor
11/19/2021    BM318, LLC. (Lindauer, Joyce)

               110 (20 pgs; 2 docs) Application for compensation for Joyce W. Lindauer, Debtor's Attorney, Period:
              9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16. Filed by Attorney Joyce W. Lindauer
01/18/2022    Objections due by 2/8/2022. (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

               111 (4 pgs) Notice of hearing filed by Debtor BM318, LLC (RE: related document(s)110 Application for
              compensation for Joyce W. Lindauer, Debtor's Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25,
              Expenses: $2,457.16. Filed by Attorney Joyce W. Lindauer Objections due by 2/8/2022. (Attachments: # 1
              Proposed Order)). Hearing to be held on 2/24/2022 at 01:30 PM Ft. Worth, Judge Mullin's Ctrm. for 110,
01/18/2022    (Lindauer, Joyce)

               112 (10 pgs) Chapter 11 Post-Confirmation Report for the Quarter Ending: 12/31/2021 filed by Debtor
01/27/2022    BM318, LLC. (Lindauer, Joyce)

               113 (10 pgs) Objection to (related document(s): 110 Application for compensation for Joyce W.
              Lindauer, Debtor's Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16. filed by
02/04/2022    Debtor BM318, LLC) filed by U.S. Trustee United States Trustee. (Young, Elizabeth)

02/07/2022     114 (6 pgs; 2 docs) Motion to extend time to File Fee Application of Debtor's Counsel (RE: related
              document(s)110 Application for compensation) Filed by Debtor BM318, LLC (Attachments: # 1 Proposed
    Case 4:24-cv-00863-P
               Order) (Lindauer,Document
                                 Joyce)  1-1           Filed 09/11/24         Page 129 of 134          PageID 130

                 115 (4 pgs; 2 docs) Motion for expedited hearing(related documents 114 Motion to extend/shorten time)
02/07/2022      Filed by Debtor BM318, LLC (Attachments: # 1 Proposed Order) (Lindauer, Joyce)

                 116 (2 pgs) Order granting motion for expedited hearing (Related Doc# 115)(document set for hearing:
                114 Motion to extend/shorten time) Hearing to be held on 2/24/2022 at 01:30 PM at https://us-
02/09/2022      courts.webex.com/meet/mullin for 114, Entered on 2/9/2022. (Chambers, Deanna)

                  117 (3 pgs) Notice of Appearance and Request for Notice for Khudabuksh Walji by Joyce W. Lindauer
02/10/2022      filed by Debtor BM318, LLC. (Lindauer, Joyce)

                 118 (4 pgs) Support/supplemental documentSupplement to the United States Trustees Objection to First
                and Final Application to Approve Payment of Fees and Expenses to Debtors Counsel filed by U.S. Trustee
02/10/2022      United States Trustee (RE: related document(s)113 Objection). (Young, Elizabeth)

                 119 (7 pgs) Objection to (related document(s): 114 Motion to extend time to File Fee Application of
                Debtor's Counsel (RE: related document(s)110 Application for compensation) filed by Debtor BM318,
02/16/2022      LLC) filed by U.S. Trustee United States Trustee. (Young, Elizabeth)

                 120 (15 pgs) Support/supplemental document/Revised Exhibit "A" to First and Final Application to
                Approve Payment of Fees and Expenses of Debtor's Counsel filed by Debtor BM318, LLC (RE: related
                document(s)110 Application for compensation for Joyce W. Lindauer, Debtor's Attorney, Period: 9/1/2020
02/16/2022      to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16.). (Lindauer, Joyce)

                 121 (121 pgs; 14 docs) Witness and Exhibit List filed by U.S. Trustee United States Trustee (RE: related
                document(s)113 Objection, 119 Objection). (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4
                Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Exhibit J # 11 Exhibit
02/18/2022      K # 12 Exhibit L # 13 Exhibit M) (Young, Elizabeth)

                 122 (5 pgs) Response opposed to (related document(s): 119 Objection filed by U.S. Trustee United States
02/18/2022      Trustee) filed by Attorney Joyce Lindauer. (Lindauer, Joyce)

                 123 (25 pgs) Response opposed to (related document(s): 113 Objection filed by U.S. Trustee United
02/18/2022      States Trustee) filed by Attorney Joyce Lindauer. (Lindauer, Joyce)

                 124 (5 pgs) Notice of Appearance and Request for Notice by Frances Anne Smith filed by Interested
02/21/2022      Party Joyce W. Lindauer Attorney, PLLC. (Smith, Frances)

                 125 (171 pgs; 19 docs) Witness and Exhibit List filed by Interested Party Joyce W. Lindauer Attorney,
                PLLC (RE: related document(s)110 Application for compensation for Joyce W. Lindauer, Debtor's
                Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16.). (Attachments: # 1 Exhibit
                1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7 Exhibit 7 # 8 Exhibit 8 # 9
                Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14 Exhibit 14 # 15 Exhibit 15
02/21/2022      # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18) (Smith, Frances)

                 126 (3 pgs) Amended Witness List filed by Interested Party Joyce W. Lindauer Attorney, PLLC (RE:
02/21/2022      related document(s)125 List (witness/exhibit/generic)). (Smith, Frances)

02/22/2022       127 (5 pgs; 2 docs) Notice of hearing filed by Interested Party Joyce W. Lindauer Attorney, PLLC (RE:
                related document(s)110 Application for compensation for Joyce W. Lindauer, Debtor's Attorney, Period:
                9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16. Filed by Attorney Joyce W. Lindauer
                Objections due by 2/8/2022. (Attachments: # 1 Proposed Order), 114 Motion to extend time to File Fee
                Application of Debtor's Counsel (RE: related document(s)110 Application for compensation) Filed by
                Debtor BM318, LLC (Attachments: # 1 Proposed Order)). Hearing to be held on 3/31/2022 at 02:30 PM at
    Case 4:24-cv-00863-P         Document 1-1 Filed
               https://us-courts.webex.com/meet/mullin      09/11/24
                                                       for 110 and for 114, Page   130 of#134
                                                                            (Attachments: 1 ExhibitPageID   131
                                                                                                    A) (Smith,
                  Frances)

                   128 (165 pgs; 18 docs) Witness and Exhibit List filed by Interested Party Joyce W. Lindauer Attorney,
                  PLLC (RE: related document(s)110 Application for compensation for Joyce W. Lindauer, Debtor's
                  Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16., 114 Motion to extend time
                  to File Fee Application of Debtor's Counsel (RE: related document(s)110 Application for compensation)).
                  (Attachments: # 1 Exhibit 1 - Docket Sheet # 2 Exhibit 3 - Disclosure of Compensation # 3 Exhibit 4 -
                  Order Granting Application to Employ # 4 Exhibit 5 - First Amended Plan # 5 Exhibit 6 - Order
                  Confirming First Amended Plan # 6 Exhibit 7 - Fee Application # 7 Exhibit 8 - UST Objection to Fee
                  Application # 8 Exhibit 9 - Motion to Extend Time to File Fee Application # 9 Exhibit 10 - Supplement to
                  Objection to Fee Application # 10 Exhibit 11 - Objection to Motion to Extend Deadline # 11 Exhibit 12 -
                  Revised Exhibit A to Fee Application # 12 Exhibit 13 - Response to Objection to Motion to Extend
                  Deadline # 13 Exhibit 14 - Response to Objection to Fee Application # 14 Exhibit 15 - Joyce W. Lindauer
                  Attorney PLLC Website # 15 Exhibit 16 - Geilich Fees all Chapter 11 Cases # 16 Exhibit 17 - Geilich State
03/28/2022        Bar Bio # 17 Exhibit 2 - Application to Employ) (Smith, Frances)

                   129 (2 pgs) Amended Witness List amending Witness List only to add Timothy Barton filed by Interested
                  Party Joyce W. Lindauer Attorney, PLLC (RE: related document(s)128 List (witness/exhibit/generic)).
03/30/2022        (Smith, Frances)

                    130 (27 pgs; 3 docs) Notice of Filing of Amended Exhibits for Hearing Scheduled for March 31, 2022
                  filed by Interested Party Joyce W. Lindauer Attorney, PLLC (RE: related document(s)128 Witness and
                  Exhibit List filed by Interested Party Joyce W. Lindauer Attorney, PLLC (RE: related document(s)110
                  Application for compensation for Joyce W. Lindauer, Debtor's Attorney, Period: 9/1/2020 to 8/2/2021, Fee:
                  $50,701.25, Expenses: $2,457.16., 114 Motion to extend time to File Fee Application of Debtor's Counsel
                  (RE: related document(s)110 Application for compensation)). (Attachments: # 1 Exhibit 1 - Docket Sheet #
                  2 Exhibit 3 - Disclosure of Compensation # 3 Exhibit 4 - Order Granting Application to Employ # 4
                  Exhibit 5 - First Amended Plan # 5 Exhibit 6 - Order Confirming First Amended Plan # 6 Exhibit 7 - Fee
                  Application # 7 Exhibit 8 - UST Objection to Fee Application # 8 Exhibit 9 - Motion to Extend Time to
                  File Fee Application # 9 Exhibit 10 - Supplement to Objection to Fee Application # 10 Exhibit 11 -
                  Objection to Motion to Extend Deadline # 11 Exhibit 12 - Revised Exhibit A to Fee Application # 12
                  Exhibit 13 - Response to Objection to Motion to Extend Deadline # 13 Exhibit 14 - Response to Objection
                  to Fee Application # 14 Exhibit 15 - Joyce W. Lindauer Attorney PLLC Website # 15 Exhibit 16 - Geilich
                  Fees all Chapter 11 Cases # 16 Exhibit 17 - Geilich State Bar Bio # 17 Exhibit 2 - Application to
03/31/2022        Employ)). (Attachments: # 1 Amended Exhibit 5 # 2 Amended Exhibit 16) (Smith, Frances)

                   131 Hearing held on 3/31/2022. (RE: related document(s)114 Motion to extend time to File Fee
                  Application of Debtor's Counsel (RE: related document(s)110 Application for compensation) Filed by
                  Debtor BM318, LLC (Attachments: # 1 Proposed Order)) ***GRANTED*** (Almaraz, Jeanette)
03/31/2022        (Entered: 04/01/2022)

                   132 Hearing held on 3/31/2022. (RE: related document(s)110 Application for compensation for Joyce W.
                  Lindauer, Debtor's Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25, Expenses: $2,457.16. Filed by
                  Attorney Joyce W. Lindauer Objections due by 2/8/2022. (Attachments: # 1 Proposed Order))
03/31/2022        ***GRANTED IN PART, DENIED IN PART*** (Almaraz, Jeanette) (Entered: 04/01/2022)

                   133 (1 pg) Court admitted exhibits date of hearing 3/31/2022 (RE: related document(s)110 Application
                  for compensation for Joyce W. Lindauer, Debtor's Attorney, Period: 9/1/2020 to 8/2/2021, Fee: $50,701.25,
                  Expenses: $2,457.16. Filed by Attorney Joyce W. Lindauer Objections due by 2/8/2022. (Attachments: # 1
                  Proposed Order), 114 Motion to extend time to File Fee Application of Debtor's Counsel (RE: related
                  document(s)110 Application for compensation) Filed by Debtor BM318, LLC (Attachments: # 1 Proposed
03/31/2022        Order)) (Almaraz, Jeanette) (Entered: 04/01/2022)

                   134 (2 pgs) Order granting 114 Motion to extend time for Debtor's Counsel to file Fee Application to
04/05/2022        January 18, 2022. Entered on 4/5/2022. (Chambers, Deanna)
    Case 4:24-cv-00863-P      Document 1-1          Filed 09/11/24        Page 131 of 134          PageID 132
               135 (2 pgs) Order granting in part, denying in part application for compensation (related document #
              110) granting in part, denying in part for Joyce W. Lindauer, fees awarded: $31869.25, expenses awarded:
04/05/2022    $2457.16 Entered on 4/5/2022. (Chambers, Deanna)

               136 (3 pgs) Chapter 11 Post-Confirmation Report for the Quarter Ending: 03/31/2022 filed by Debtor
05/03/2022    BM318, LLC. (Lindauer, Joyce)

               137 (10 pgs) Amended Chapter 11 Post-Confirmation Report for the Quarter Ending: 03/31/2022 filed by
              Debtor BM318, LLC (RE: related document(s)136 Chapter 11 Post-Confirmation Report). (Lindauer,
05/31/2022    Joyce)

               138 (10 pgs) Chapter 11 Post-Confirmation Report for the Quarter Ending: 06/30/2022 filed by Debtor
08/01/2022    BM318, LLC. (Lindauer, Joyce)

08/24/2022      (private) Flags set: ADVAPL (Almaraz, Jeanette)

09/26/2022      (private) Flags cleared: ADVAPL (Almaraz, Jeanette)

               139 (28 pgs; 2 docs) Notice of Receiver's Notice of Stay filed by Attorney Cortney C Thomas.
10/21/2022    (Attachments: # 1 Exhibit A) (Koonce, Charlene)

               140 (2 pgs) Notice of firm name change from Ross & Smith, PC to Ross, Smith & Binford, PC. (Smith,
01/27/2023    Frances)

               141 (1 pg) Notice of Appearance and Request for Notice by John Kendrick Turner filed by Creditor
03/10/2023    Parker CAD. (Turner, John)

07/09/2023      (private) No Docket Activity Within the Last 120 Days (admin)

               142 (1 pg) Clerk's correspondence requesting Case Status from attorney for debtor. (RE: related
              document(s)1 Non-individual Chapter 11 Voluntary Petition. Fee Amount $1717 Filed by BM318, LLC,
              139 Notice of Receiver's Notice of Stay filed by Attorney Cortney C Thomas. (Attachments: # 1 Exhibit
08/28/2023    A)) Responses due by 9/7/2023. (Nunns, Tracy)

               143 (1 pg) Second Clerk's correspondence requesting case status from attorney for debtor. (RE: related
              document(s)1 Non-individual Chapter 11 Voluntary Petition. Fee Amount $1717 Filed by BM318, LLC,
10/12/2023    139 Notice of Receiver's Notice of Stay) Responses due by 10/19/2023. (Nunns, Tracy).

               144 (3 pgs) BNC certificate of mailing. (RE: related document(s)143 Second Clerk's correspondence
              requesting case status from attorney for debtor. (RE: related document(s)1 Non-individual Chapter 11
              Voluntary Petition. Fee Amount $1717 Filed by BM318, LLC, 139 Notice of Receiver's Notice of Stay)
10/14/2023    Responses due by 10/19/2023. .) No. of Notices: 0. Notice Date 10/14/2023. (Admin.)

               145 (1 pg) Clerk's correspondence requesting case status from attorney for receiver (RE: related
              document(s) 139 Notice of Receiver's Notice of Stay filed by Attorney Cortney C Thomas. (Attachments: #
12/28/2023    1 Exhibit A)) Responses due by 1/11/2024. (Nunns, Tracy)

               146 (3 pgs) Notice of Appearance and Request for Notice by Mark Joseph Petrocchi filed by Creditor
01/30/2024    First Bank Texas. (Petrocchi, Mark)
    Case 4:24-cv-00863-P       Document 1-1          Filed 09/11/24         Page 132 of 134          PageID 133
               147 (60 pgs; 6 docs) Motion to compromise controversy with BM318, LLC. Related AP case numbers:
              21-04051. Related defendants: The Dixon Water Foundation. Filed by Interested Party Dixon Water
              Foundation Objections due by 5/16/2024. (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership
              Proceeding # 2 Exhibit B - Settlement Agreement # 3 Exhibit C - Proposed Order # 4 Exhibit D - Proposed
04/25/2024    Judgment # 5 Service List) (Perry, Deborah)

               148 (6 pgs; 3 docs) Notice of hearing filed by Interested Party Dixon Water Foundation (RE: related
              document(s)147 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-
              04051. Related defendants: The Dixon Water Foundation. Filed by Interested Party Dixon Water
              Foundation Objections due by 5/16/2024. (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership
              Proceeding # 2 Exhibit B - Settlement Agreement # 3 Exhibit C - Proposed Order # 4 Exhibit D - Proposed
              Judgment # 5 Service List)). Hearing to be held on 5/20/2024 at 09:30 AM Ft. Worth, Judge Mullin's Ctrm.
04/25/2024    for 147, (Attachments: # 1 Webex Instructions # 2 Service List) (Perry, Deborah)

               149 (64 pgs; 5 docs) Motion to compromise controversy with BM318, LLC. Related AP case numbers:
              21-04051. Related defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-
              Intervention). Filed by Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024.
04/25/2024    (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.)

               150 (5 pgs; 3 docs) Notice of hearing filed by Interested Party Lumar Land & Cattle, LLC (RE: related
              document(s)149 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-
              04051. Related defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-
              Intervention). Filed by Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024.
              (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.)). Hearing to be held
              on 5/20/2024 at 09:30 AM at https://us-courts.webex.com/meet/mullin for 149, (Attachments: # 1 WebEx
04/25/2024    Instructions # 2 Service List) (Forshey, J.)

               151 (15 pgs; 2 docs) Brief in support filed by Interested Party Lumar Land & Cattle, LLC (RE: related
              document(s)147 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-
05/08/2024    04051. Related defendants: The Dixon Water Foundation. ). (Attachments: # 1 Service List) (Forshey, J.)

               152 (333 pgs; 22 docs) Witness and Exhibit List for Hearing on May 20, 2024 filed by Interested Party
              Lumar Land & Cattle, LLC (RE: related document(s)147 Motion to compromise controversy with BM318,
              LLC. Related AP case numbers: 21-04051. Related defendants: The Dixon Water Foundation. ).
              (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Exhibit 6 # 7
              Exhibit 7 # 8 Exhibit 8 # 9 Exhibit 9 # 10 Exhibit 10 # 11 Exhibit 11 # 12 Exhibit 12 # 13 Exhibit 13 # 14
              Exhibit 14 # 15 Exhibit 15 # 16 Exhibit 16 # 17 Exhibit 17 # 18 Exhibit 18 # 19 Exhibit 19 # 20 Exhibit 20
05/15/2024    # 21 Exhibit 21) (Forshey, J.)

               153 (7 pgs) Objection to (related document(s): 147 Motion to compromise controversy with BM318,
              LLC. Related AP case numbers: 21-04051. Related defendants: The Dixon Water Foundation. filed by
              Interested Party Dixon Water Foundation, 149 Motion to compromise controversy with BM318, LLC.
              Related AP case numbers: 21-04051. Related defendants: The Dixon Water Foundation, Lumar Land &
              Cattle, LLC (Plaintiff-in-Intervention). filed by Interested Party Lumar Land & Cattle, LLC) filed by
05/16/2024    Interested Party Joyce W. Lindauer Attorney, PLLC. (Lindauer, Joyce)

               154 (272 pgs; 18 docs) Witness and Exhibit List filed by Interested Party Dixon Water Foundation (RE:
              related document(s)147 Motion to compromise controversy with BM318, LLC. Related AP case numbers:
              21-04051. Related defendants: The Dixon Water Foundation. ). (Attachments: # 1 Ex A # 2 Ex B # 3 Ex C
              # 4 Ex D # 5 Ex E # 6 Ex F # 7 Ex G # 8 Ex H # 9 Ex I # 10 Ex J # 11 Ex K # 12 Ex L # 13 Ex M # 14 Ex
05/16/2024    N # 15 Ex O # 16 Ex P # 17 Ex Q) (Perry, Deborah)

05/20/2024     155 Hearing held on 5/20/2024 - ***MATTERS UNDER ADVISEMENT - ORAL RULING HEARING
              TO BE HELD 5/22/2024 AT 1:00PM*** . (RE: related document(s)147 Motion to compromise
              controversy with BM318, LLC. Related AP case numbers: 21-04051. Related defendants: The Dixon
              Water Foundation. Filed by Interested Party Dixon Water Foundation Objections due by 5/16/2024.
              (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership Proceeding # 2 Exhibit B - Settlement
    Case 4:24-cv-00863-P      Document
               Agreement # 3 Exhibit        1-1 Order
                                     C - Proposed Filed
                                                      # 409/11/24       Page Judgment
                                                          Exhibit D - Proposed 133 of 134     PageID
                                                                                       # 5 Service List), 134
                                                                                                          149
                 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related
                 defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-Intervention). Filed by
                 Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024. (Attachments: # 1 Exhibit A # 2
                 Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.)) (Almaraz, Jeanette)

                  156 (1 pg) Court admitted exhibits date of hearing 5/20/2024 (RE: related document(s)147 Motion to
                 compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related defendants: The
                 Dixon Water Foundation. Filed by Interested Party Dixon Water Foundation Objections due by 5/16/2024.
                 (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership Proceeding # 2 Exhibit B - Settlement
                 Agreement # 3 Exhibit C - Proposed Order # 4 Exhibit D - Proposed Judgment # 5 Service List), 149
                 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related
                 defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-Intervention). Filed by
                 Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024. (Attachments: # 1 Exhibit A # 2
05/20/2024       Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.)) (Almaraz, Jeanette)

                  157 Hearing set for Oral Ruling on 147 and 149 (RE: related document(s)147 Motion to compromise
                 controversy with BM318, LLC. Related AP case numbers: 21-04051. Related defendants: The Dixon
                 Water Foundation. Filed by Interested Party Dixon Water Foundation Objections due by 5/16/2024.
                 (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership Proceeding # 2 Exhibit B - Settlement
                 Agreement # 3 Exhibit C - Proposed Order # 4 Exhibit D - Proposed Judgment # 5 Service List), 149
                 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related
                 defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-Intervention). Filed by
                 Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024. (Attachments: # 1 Exhibit A # 2
                 Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.)) Hearing to be held on 5/22/2024 at 01:00 PM at
05/20/2024       https://us-courts.webex.com/meet/mullin for 149 and for 147, (Almaraz, Jeanette)

                   158 (1 pg) Request for transcript regarding a hearing held on 5/20/2024. The requested turn-around time
05/21/2024       is 3-day expedited (Almaraz, Jeanette)

                  159 Hearing held on 5/22/2024 ***MOTION GRANTED***. (RE: related document(s)147 Motion to
                 compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related defendants: The
                 Dixon Water Foundation. Filed by Interested Party Dixon Water Foundation Objections due by 5/16/2024.
                 (Attachments: # 1 Exhibit A - Order Lifting Stay in Receivership Proceeding # 2 Exhibit B - Settlement
                 Agreement # 3 Exhibit C - Proposed Order # 4 Exhibit D - Proposed Judgment # 5 Service List))
05/22/2024       (Almaraz, Jeanette)

                  160 Hearing held on 5/22/2024 ***MOTION GRANTED***. (RE: related document(s)149 Motion to
                 compromise controversy with BM318, LLC. Related AP case numbers: 21-04051. Related defendants: The
                 Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-Intervention). Filed by Interested Party
                 Lumar Land & Cattle, LLC Objections due by 5/16/2024. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
05/22/2024       Exhibit C # 4 Service List) (Forshey, J.)) (Almaraz, Jeanette)

                   161 (1 pg) Request for transcript regarding a hearing held on 5/22/2024. The requested turn-around time
05/23/2024       is daily (Almaraz, Jeanette)


                       162 (19 pgs) Transcript regarding Hearing Held 05/22/2024 RE: RULING. THIS TRANSCRIPT
                 WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90 DAYS AFTER
                 THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 08/22/2024. Until that time the transcript
                 may be viewed at the Clerk's Office or a copy may be obtained from the official court transcriber. Court
                 Reporter/Transcriber Lawrence Court Transcription & Video, LLC, Telephone number 833-800-5288. (RE:
                 related document(s) 160 Hearing held on 5/22/2024 ***MOTION GRANTED***. (RE: related
                 document(s)149 Motion to compromise controversy with BM318, LLC. Related AP case numbers: 21-
                 04051. Related defendants: The Dixon Water Foundation, Lumar Land & Cattle, LLC (Plaintiff-in-
                 Intervention). Filed by Interested Party Lumar Land & Cattle, LLC Objections due by 5/16/2024.
                 (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Service List) (Forshey, J.))). Transcript to be
05/24/2024       made available to the public on 08/22/2024. (Lawrence, Gillian)
    Case 4:24-cv-00863-P      Document 1-1        Filed 09/11/24        Page 134 of 134        PageID 135
               163 (3 pgs) Order granting motion to compromise controversy (related document # 147) Entered on
05/28/2024    5/28/2024. (Nunns, Tracy)

               164 (3 pgs) Order granting motion to compromise controversy (related document # 149) Entered on
05/28/2024    5/28/2024. (Nunns, Tracy)
